        Case
        Case 1:19-cv-20583-DPG Document 38-2
             1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 11 of
                                                                                       of 29
                                                                                          29
                                                                                           3
                                                                             1
                                                                                        1                          E X H I B I T S
          1                         UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA                        2
          2                         MIAMI DIVISION

          3                         CASE NO:   16-CV-23862-LENARD/GOODMAN
                                                                                        3    P la in t if f 's E x h ib it N o . 1                        9

          4                                                                             4   P la i n t i f f ' s E x h i b i t N o . 2                    9
                   DONNA PADULA,
          5                                                                             5   P la i n t i f f ' s E x h i b i t N o . 3                    10
                           Plaintiff,
          6                                                                             6   P la i n t i f f ' s E x h i b i t N o . 4                    19
                   vs.
          7                                                                             7   P la i n t i f f ' s E x h i b i t N o . 5                    32
                   CARNIVAL CORPORATION,
          8        a Panama corporation d/b/a                                           8   P la i n t i f f ' s E x h i b i t N o . 6                    106
                   "CARNIVAL CRUISE LINE"
          9                                                                             9
                           Defendant.
         10        _______________________________/
                                                                                       10
         11
                                                                                       11
         12
                                                                                       12
         13
                                                                                       13
         14
                                        McCarthur Engineering Building
         15                             1251 Memorial Dr., Suite 308
                                                                                       14
                                        Coral Gables, Florida
         16                             6-2-17 1:00 p.m.                               15
         17                                                                            16
         18                                                                            17
         19                        DEPOSITION OF                                       18
         20                FRANCISCO J. DE CASO BASALO, PH.D.
                                                                                       19
         21
                                                                                       20
         22                Taken before Julio A. Mocega, Shorthand
                                                                                       21
         23        Reporter, Notary Public in and for the State of
                                                                                       22
         24        Florida at Large, pursuant to Notice of Taking
                                                                                       23
         25        Deposition filed in the above case.
                                                                                       24

                         MOCEGA & ASSOC. (305) 374-0181                                25
                                                                                                     MOCEGA & ASSOC. (305) 374-0181
                                                                         2
                                                                                                                                                                          4
  1    APPEARAN CES:
  2                                                                                     1   T h e re u p o n ,
       APPEARANCE BY PHONE
  3    O N B E H A L F O F T H E P L A IN T IF F :                                      2              F R A N C IS O J . D E C A S O B A S A L O , P h .D .,
       E R IK S E N L A W F IR M
                                                                                        3    w a s c a l l e d a s a w it n e s s a n d , h a v i n g b e e n f i r s t
  4    2 1 6 1 P a lm B e a c h L a k e s B l v d .
       S u it e 4 1 0                                                                   4   d u l y s w o r n , w a s e x a m in e d a n d t e s t i f i e d a s
  5    W e s t P a lm B e a c h , F lo r id a 3 3 4 0 9 - 6 6 1 1
       B Y : M ic h a e l D . E r ik s e n , E s q .                                    5   f o llo w s :
  6
                                                                                        6                           D IR E C T E X A M IN A T IO N
  7                                                                                     7    B Y M R . E R IK S E N :
       O N BEHALF O F TH E D EFEN D AN T:
  8    M A S E T IN E LLI T R IA L LA W Y E R S                                         8                Q.      C o u ld y o u t e ll u s y o u r n a m e ,
       2 6 0 1 S . B a y s h o r e D r iv e
  9    S u it e 8 0 0
                                                                                        9   p le a s e .
       M i a m i , F lo r i d a 3 3 1 3 1                                              10                A.      F r a n c is c o D e C a s o y B a s a lo .
 10    B Y : S a n d ra B a h a m o n d e , E sq .
                                                                                       11                Q.      A n d w h a t i s y o u r o c c u p a t i o n , s ir ?
 11                                                                                    12                A.      I 'm c u r r e n t ly a n a s s o c ia t e
 12                                                                                    13   s c ie n t is t a t t h e U n iv e r s it y o f M ia m i a n d
                           - - - - - -
 13                                                                                    14   C o lle g e C iv il, A r c h it e c t u r a l a n d E n v ir o n m e n t a l
                            I N D E X
 14                                                                                    15   E n g in e e r in g .
                           - - - - - -                                                 16                Q.      A r e y o u a n a r c h it e c t ?
 15
       F R A N C IS O J . D E C A S O B A S A L O , P h .D .        PAGE               17                A.      I a m n o t.            M y p r o fe s s io n is
 16                                                                                    18   e n g in e e r in g .        C iv il a n d s t r u c t u r a l e n g in e e r in g
       B y M r . E r ik s e n                          4
 17                                                                                    19   is m y d is c ip lin e .
       B y M r. B a h a m o n d e                           109
 18                                                                                    20                Q.      A n d h o w lo n g h a v e y o u w o r k e d f o r

 19                                                                                    21   t h e U n iv e r s it y o f M ia m i?

                                                                                       22                A.      I t 's b e e n a b o u t te n y e a r s .
 20
 21                                                                                    23                Q.      A ll r ig h t .   I u n d e rs ta n d th a t
 22                                                                                    24   C a r n iv a l h a s r e t a in e d y o u a s a n e x p e r t w it n e s s
 23
 24                                                                                    25   in t h is c a s e ; is t h a t c o r r e c t ?
 25
                 MOCEGA & ASSOC. (305) 374-0181                                                      MOCEGA & ASSOC. (305) 374-0181
1 of 43 sheets                                                               Page 1 to 4 of 131                                                          06/14/2017 11:00:12 PM
       Case
       Case 1:19-cv-20583-DPG  Document 38-2
             1:16-cv-23862-JAL Document  75-3 Entered
                                              Entered on
                                                      on FLSD
                                                         FLSD Docket
                                                               Docket 06/26/2017
                                                                       11/15/2019 PagePage 22 of
                                                                                              of 29
                                                                                                 29
                                           5                                                      7
  1         A. Yes, the Donna Padula case,         1       disclosure. I didn't bring it with me.
  2   correct.                                                2          I do --
  3           Q. Yes.                                         3               MR. ERIKSEN: Okay.
  4                Have you ever given a deposition           4               MISS BAHAMONDE: -- have a copy of
  5   like this before?                                       5          his -- like, I have a copy of the
  6           A. I have, yes. Not over the phone,             6          report, but it's all marked up. I do
  7   in person. I should say that.                           7          have a blank copy of his CV and fee
  8           Q. Okay. Well, you know, I was going            8          schedule, we can go ahead and use that.
  9   to come down, but frankly this -- I'm sitting           9               MR. ERIKSEN: Okay.
 10   here with a pair of shorts on and a Polo shirt         10               MISS BAHAMONDE: If you want.
 11   and if I came down to see you in person I would        11               MR. ERIKSEN: I'm trying to think
 12   be wearing a coat and tie, so this is easier on        12          of another way to do this. Does he
 13   me, and hopefully we'll get you out of here in         13          have a copy of his report that's clean?
 14   a short amount of time.                                14               THE WITNESS: It has a little
 15           A. I would appreciate that.                    15          stain of coffee, but I can print
 16           Q. How many times have you given a             16          another one and provide that as an
 17   deposition before?                                     17          exhibit.
 18           A. I thinks it's two or three.                 18               MISS BAHAMONDE: Yes, I would have
 19           Q. Okay. And I'm -- somewhere in               19          brought a copy if I would have known.
 20   here I have your list of previous cases, and           20          Sorry.
 21   I'm going to try to find it. Just bear with            21               MR. ERIKSEN: Well, let's do that.
 22   me.                                                    22          Let's make that Exhibit 1 to the
 23           A. Sure.                                       23          deposition, and we'll endeavor before
 24           Q. Let me -- while I'm looking for             24          we finish today to get a clean copy
 25   this, let's just go over some basic ground             25          that doesn't have coffee on it.
            MOCEGA & ASSOC. (305) 374-0181                              MOCEGA & ASSOC. (305) 374-0181
                                               6                                                           8
  1   rules. We are doing this by telephone, so               1                MISS BAHAMONDE: Do you want the
  2   let's try very hard not to speak over each              2           report or would you like the full Rule
  3   other. I will make a real serious effort to             3           26 disclosure?
  4   make sure you're done with your answer before I         4                MR. ERIKSEN: Well, I want to kind
  5   ask the next question, and I would ask you to           5           of break them up a little bit --
  6   make sure that I'm done with the question               6                MISS BAHAMONDE: Okay.
  7   before you answer it; okay?                             7                MR. ERIKSEN: -- between the
  8           A. You got it.                                  8           actual report and some other items.
  9           Q. That's probably the biggest thing.           9           What I'm looking for, and I can't seem
 10               And I would ask you to answer out          10           to find is the -- he had a list of --
 11   loud in plain English as opposed to, you know,         11                MISS BAHAMONDE: It's on page 4 of
 12   shaking your head or saying uh-huh, because I          12           his CV.
 13   won't know what your answer is over the                13                THE WITNESS: Section 16, yes.
 14   telephone. Can you do that for me?                     14                MR. ERIKSEN: Okay. Hang on.
 15           A. Understood. Thank you.                      15           Page what?
 16           Q. Great.                                      16                THE WITNESS: Four.
 17               Just bear with me here a second.           17                MR. ERIKSEN: Oh, I see. Okay.
 18               Do you have a copy of your Rule 26         18                THE WITNESS: On the lower part,
 19   report in the case?                                    19           section 16.
 20           A. I do have one in front of me, yes.          20   BY MR. ERIKSEN:
 21           Q. Okay. What I'd like you to do is            21           Q. Okay. Hang on.
 22   to just take the report and we'll make that            22                You're right, I do see that now.
 23   Exhibit 1 to the deposition.                           23   All right. Why don't we do this, since we're
 24               MISS BAHAMONDE: Mike, I don't              24   now into your resume, let's make that Exhibit
 25           have a full copy of the Rule 26                25   2.
            MOCEGA & ASSOC. (305) 374-0181                              MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                             Page 5 to 8 of 131                                    2 of 43 sheets
        Case
        Case 1:19-cv-20583-DPG Document 38-2
             1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 33 of
                                                                                       of 29
                                                                                          29
                                          9                                                11
  1                    MISS BAHAMONDE: So Exhibit 1 is                1                MR. ERIKSEN: Okay.
  2               the notice of depo, correct?                        2    BY MR. ERIKSEN:
  3                    MR. ERIKSEN: Actually, you know                3           Q. In general terms, what were you
  4               what, here's what we're going to do,                4    asked to do by Carnival in this case?
  5               we're going to make the Notice of                   5           A. Provide -- attend an inspection to
  6               Deposition Exhibit 1.                               6    evaluate the area of the incident by Donna
  7                    (Thereupon, the above mentioned                7    Padula, and provide opinions to what might have
  8               document was marked as Plaintiff's                  8    caused or mitigated the incident and provide
  9               Exhibit No. 1, for identification this              9    expert opinions in this matter.
 10               date.)                                             10    BY MR. ERIKSEN:
 11                    MR. ERIKSEN: I hope the Court                 11           Q. You said you were, I think a civil
 12               Reporter has that, a copy of that.                 12    and a structural engineer; is that correct?
 13                    MISS BAHAMONDE: I have a clean                13           A. That's my background yes.
 14               copy that I can provide to him.                    14           Q. Okay. Is a civil and/or
 15                    MR. ERIKSEN: So we'll make that               15    structural engineer different than a mechanical
 16               Exhibit 1.                                         16    engineer?
 17                    And then we're going to make the              17           A. Many of the fundamental
 18               witness's Rule 26 report Exhibit 2.                18    engineering concepts are the same, but a
 19                    THE WITNESS: I will print a new               19    mechanical engineer will maybe deal with other
 20               copy without the coffee stain.                     20    applied elements.
 21                    (Thereupon, the above mentioned               21           Q. What exactly is a civil engineer?
 22               document was marked as Plaintiff's                 22           A. A civil engineer, in the old days
 23               Exhibit No. 2, for identification this             23    was anything except for military engineering.
 24               date.)                                             24    Today it has to do with specifically for what I
 25                    MR. ERIKSEN: We're going to make              25    do, the knowledge on the build infrastructure
                 MOCEGA & ASSOC. (305) 374-0181                                  MOCEGA & ASSOC. (305) 374-0181
                                                      10                                                              12
  1               the witness's resume, including,                    1    as well as any sort of structure and knowledge
  2               there's a short biographical section on             2    on materials and material science, on how those
  3               the first page and then it looks like               3    are used for different purposes.
  4               the resume picks up on page two and                 4           Q. Most of the time I probably
  5               then that entire document is eleven,                5    wrongfully but personally associate a civil
  6               ten or eleven pages.                                6    engineer with building roads. Is that not
  7                     MISS BAHAMONDE: Correct.                      7    accurate?
  8                     MR. ERIKSEN: Let's make that as               8           A. That is a subsection of the civil
  9               Exhibit 2 -- I'm sorry, three.                      9    engineering. So specifically, as you can see
 10                     (Thereupon, the above mentioned              10    from my CV, I also specify -- I specialize,
 11               document was marked as Plaintiff's                 11    pardon me, in material science, as well as
 12               Exhibit No. 3, for identification this             12    managing our structures and materials lab. So
 13               date.)                                             13    many of the elements that a civil engineer
 14                     MISS BAHAMONDE: Okay. We're good             14    usually uses to build and design any given
 15               with the exhibits.                                 15    structure, there's also an implied requirement
 16                     MR. ERIKSEN: Okay. How are we                16    that that civil engineer has to be aware of the
 17               doing so far on that?                              17    use of those materials, the behavior of those
 18                     MISS BAHAMONDE: YES. Exhibit 1               18    materials for its application, whatever that
 19               will be the notice of today's                      19    application might be.
 20               deposition.                                        20           Q. And what is a structural engineer?
 21                     Exhibit 2 will be a copy of                  21           A. So that would be within the
 22               Dr. Basalo's report in this matter.                22    discipline of civil engineering. It's a
 23                     And Exhibit 3 will be his CV,                23    specialized branch where the structural
 24               including the fee schedule and the                 24    engineer is dedicated in evaluating structures
 25               brief biography.                                   25    and how structures behave.
                 MOCEGA & ASSOC. (305) 374-0181                                  MOCEGA & ASSOC. (305) 374-0181
3 of 43 sheets                                             Page 9 to 12 of 131                             06/14/2017 11:00:12 PM
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 44 of
                                                                                      of 29
                                                                                         29
                                         13                                               15
  1           Q. And again, when I think of                1   investigated timber-based materials, as well as
  2   structures I usually think of steel I-beams and      2   organic and inorganic materials.
  3   frames of buildings and things of that nature.       3           Q. What about teak, natural teak?
  4   Is that -- am I wrong on that, too?                  4           A. Natural teak explicitly, no.
  5           A. Again, that would be a, depending         5           Q. What is your understanding, if
  6   on the type of system, concrete, steel, you          6   any, about the polymer that is involved with
  7   name it. And again, there's an implied               7   the artificial teak flooring on the ship?
  8   knowledge that needs to be material science          8           A. Can you be a bit more specific.
  9   association, so you need to understand how           9   I'm not understanding the question.
 10   steel, concrete, etcetera, etcetera, behaves        10           Q. Okay. I'm thinking about
 11   with the application.                               11   compounds like polyurethane or polyethylene.
 12           Q. Are you familiar with the term           12                 Do you have -- with that type of
 13   "biomechanical engineering"?                        13   definition do you have any idea as to what
 14           A. I am familiar with the term, yes.        14   polymer is involved with an artificial teak
 15           Q. What is your understanding of what       15   flooring on the --
 16   that is?                                            16           A. I'm not aware of the --
 17           A. It is a broad discipline in              17           Q. -- Carnival ship?
 18   biomechanics. It could imply any mechanical         18           A. I'm not aware of the exact
 19   movement applied to the, to a bio-based system.     19   formulation they used to do this preparatory
 20   It could be a human, it could be an animal. It      20   product. But I understand the specifications
 21   could be a plant. So understanding the              21   that are meant to be used for this for the
 22   mechanics applied to the bio-based world.           22   application of that product on the floor
 23           Q. Are you a biomechanical engineer?        23   surface.
 24           A. I am not.                                24           Q. What is the polymer that is
 25           Q. Has your entire last ten years           25   involved with this flooring?
            MOCEGA & ASSOC. (305) 374-0181                            MOCEGA & ASSOC. (305) 374-0181
                                              14                                                          16
  1   with the University of Miami been devoted to         1           A. I guess it's a polyurethane type
  2   teaching or has some of that been research?          2   of product, but again, I don't know the
  3            A. Primarily it's been devoted              3   formulation itself.
  4   research, understanding material science and         4           Q. But you believe it's polyurethane?
  5   testing, test standards, test development,           5           A. I think I would need to go back to
  6   undertaking tests. So more within the material       6   the manufacturer's website that I reviewed to
  7   science of materials within engineering.             7   understand the formulation that it had.
  8            Q. Has any of that involved flooring?       8           Q. Has any of the research that
  9            A. Depends, flooring is an                  9   you've done in the last ten years at the
 10   application, so it's a type of structural           10   University of Miami been devoted to
 11   element. Whatever goes on the flooring, it          11   polyurethane flooring?
 12   could be a carpet, it could be paint, it could      12           A. Not for flooring applications, no.
 13   be an organic or inorganic material. So             13           Q. It appears from your resume, and
 14   flooring is just too much of a broad term, but      14   you were kind enough to point me to the right
 15   both organic --                                     15   spot, that your litigation or forensic
 16            Q. Let me further define flooring as       16   experience up to this point has consisted of
 17   tile, and in this case we're dealing with an        17   approximately five cases.
 18   artificial or polymer flooring that looks like      18           A. Correct.
 19   teak, and then another part of the ship is a        19           Q. Are they listed on page 4 of your
 20   natural teak surface.                               20   resume that we've marked as Exhibit 3?
 21                 Has any of your research at the       21           A. That's correct. Yes.
 22   University of Miami in the last ten years been      22           Q. And other than those five cases
 23   devoted to that type of flooring?                   23   that are listed there and the present case,
 24            A. So again, in terms of the material      24   which would make six cases, do you have any
 25   that goes on the flooring, yes. We've               25   other active cases going on of a forensic
            MOCEGA & ASSOC. (305) 374-0181                            MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                         Page 13 to 16 of 131                                     4 of 43 sheets
        Case
        Case 1:19-cv-20583-DPG Document 38-2
             1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 55 of
                                                                                       of 29
                                                                                          29
                                          17                                               19
  1    nature?                                                   1          but we've got this. So that's going to
  2           A. I do have one that is not listed                2          be Exhibit 4, correct?
  3    there. Yes.                                               3               MR. ERIKSEN: Yes.
  4           Q. And can you tell me the name of                 4               (Thereupon, the above mentioned
  5    the case?                                                 5          document was marked as Plaintiff's
  6           A. It is So Koo vs. MSC (phonetic).                6          Exhibit No. 4, for identification this
  7           Q. MSC is a cruise line?                           7          date.)
  8           A. Yes.                                            8               MISS BAHAMONDE: We're ready,
  9                It's S-O, space, K-O-O.                       9          Mike.
 10           Q. I'm looking at, looking at the                 10   BY MR. ERIKSEN:
 11    dates for the cases that are listed on page 4            11          Q. Are those still your current
 12    of your resume. It looks like that they all              12   rates?
 13    are 2016 filed cases in Federal Court.                   13          A. Correct.
 14           A. That's correct.                                14          Q. It looks like -- I'm guessing
 15           Q. Okay. So were the previous                     15   you're going to charge me $150 an hour for the
 16    depositions that you referred to given in those          16   deposition today?
 17    cases that are listed there?                             17          A. That would be correct, yes.
 18           A. Correct.                                       18          Q. Which I find to be an extremely
 19           Q. Just surmising from looking at                 19   reasonable rate.
 20    this and talking to you that perhaps your foray          20          A. I've been told that before by
 21    into the forensic arena was a fairly recent              21   other law firms, which is making me hesitate if
 22    thing?                                                   22   I should increase them.
 23           A. You would be correct in stating                23          Q. Well --
 24    that.                                                    24          A. It probably does not reflect the
 25           Q. Okay. About when in time did you               25   value.
                 MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
                                                    18                                                                20
  1    make that move?                                           1            Q. -- don't do it before I finish
  2           A. I was approached by several law                 2   today.
  3    firms and have always rejected participating,             3            A. We've got an agreement on your
  4    and I then considered to start on one about               4   rate. Don't worry.
  5    last year, basically summer of last year, and             5           Q. Okay. Thank you. And, of course,
  6    realized that my skill set and expertise is               6   I'm good for it. I didn't -- I have a pretty
  7    applicable to these sort of cases. And since              7   good working relationship with the defense firm
  8    then I've been continuing to do it on, on a               8   and they know I always pay my bills. So as
  9    basis which is compatible with my work.                   9   soon as you get your invoice together, they'll
 10           Q. Okay. I am going to mark as                    10   send it to me and I'll get you paid.
 11    Exhibit 4, your rate sheet. It looks like it's           11                Let's talk about the report that
 12    one page. And at the top it's got "FDCB                  12   you rendered. And which we marked as Exhibit
 13    Engineering, Consulting Fee Schedule, Fiscal             13   2.
 14    year 2016."                                              14           A. That's correct.
 15                MISS BAHAMONDE: Mike, I had                  15           Q. And I think probably the best way
 16           marked that with the CV as Exhibit 3.             16   to do this is just to go through the report
 17           Do you want to go ahead and do it as a            17   page by page rather than bounce around on
 18           separate exhibit?                                 18   different topics.
 19                MR. ERIKSEN: Yes, let's do that,             19           A. Sure.
 20           if you don't mind. I should have                  20           Q. And I did that before the
 21           talked to you before the depo started,            21   deposition, and I marked or highlighted things
 22           Sandy, but I didn't. So thanks for the            22   that I wanted to ask you about.
 23           help.                                             23           A. Okay.
 24                MISS BAHAMONDE: No problem.                  24           Q. If you take a look at page 5 of
 25           We're going have it a little bit messy,           25   31.
                 MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
5 of 43 sheets                                       Page 17 to 20 of 131                                  06/14/2017 11:00:12 PM
       Case
        Case 1:19-cv-20583-DPG        Document 38-2
               1:16-cv-23862-JAL Document           75-3 Entered
                                                         Entered on
                                                                 on FLSD
                                                                    FLSD Docket
                                                                            Docket 06/26/2017
                                                                                   11/15/2019 Page
                                                                                                 Page 66 of
                                                                                                          of 29
                                                                                                             29
                                                     21                                                       23
  1           A. Yes.                                         1 Miss Bahamonde, attorney for Carnival, who is
  2           Q. It appears to have a list of items           2 present in the room with you today?
  3   that you've looked at to prepare for the                3         A. That's correct.
  4   report; is that correct?                                4         Q. How long did you stay on the ship
  5           A. Correct, yes.                                5 where you were actually conducting the
  6           Q. And have you been given anything             6 investigation?
  7   else to look at since then?                             7         A. Approximately two hours.
  8           A. Not in addition that I've                    8         Q. Keep on trucking here through your
  9   reviewed.                                                 9   report.
 10           Q. Okay. Let's go to page 6. It                  10             A. Yes.
 11   looks like you know that the ship involved in            11             Q. On page 8 of 31 I see a
 12   this case is the CARNIVAL VICTORY?                       12   mathematical formula of some type. I think
 13           A. Correct.                                      13   that's what that is. Is that correct?
 14           Q. And under vessel background, which            14           A. Something like that, yes.
 15   is Section 2.2 you say that "CARNIVAL VICTORY            15           Q. Okay. I've never seen that
 16   has undergone two retrofits; one during 2007,            16   before, but I'm wondering if -- does that allow
 17   which included the installation of a seaside             17   you to calculate what the causes of a given
 18   theater," etcetera, and then you said the                18   slip and fall event were?
 19   second retrofit was in 2015 where there were             19           A. So in very basic terms, whenever
 20   some more additions that you specified.                  20   you have an interaction of an incident, and I
 21                What was your source of that                21   think this, with the intent of this equation is
 22   information?                                             22   to clarify my involvement and the scope of work
 23           A. This is public available                      23   that I do.
 24   information through Carnival's website. If you           24           Q. Right.
 25   look at the specifications of the vessel.                25           A. There's three interactions. You
            MOCEGA & ASSOC. (305) 374-0181                                 MOCEGA & ASSOC. (305) 374-0181
                                                   22                                                          24
  1           Q. That section concludes with the                1   have what is referred to as the intrinsic
  2   words, "other minor changes, including                    2   factors. There is the extrinsic factors and
  3   resurfacing of deck ten, including the location           3   the interaction of those intrinsic and
  4   surface of the subject investigation."                    4   extrinsic factors. What I'm looking --
  5               Does that refer to the deck area              5           Q. Give me -- I'm sorry.
  6   where this incident happened involving                    6           A. Yes.
  7   Miss Padula?                                              7           Q. Go ahead.
  8           A. That's correct.                                8           A. So the extrinsic factors basically
  9           Q. So your understanding is that                  9   refer to the environment, your surroundings,
 10   there was some resurfacing that went on in 2015          10   the area, the floor, etcetera, etcetera.
 11   in that area?                                            11               And the intrinsic factors might
 12           A. To my understanding, yes.                     12   refer to the capability of the Plaintiff to
 13           Q. What was your source of that                  13   move or to operate, locomote. And the
 14   information?                                             14   interaction of those two is the other factor.
 15           A. If I recall correctly, and maybe              15               So it's a function basically in
 16   that was during the inspection with one of the           16   order to determine B, the risk of a fall. You
 17   crew staffs, I'm not sure what their position            17   have function between the Ps, the intrinsic,
 18   was, but that was also down during that 2015             18   the Es intrinsics, and the interaction of those
 19   remodeling.                                              19   two.
 20           Q. Okay. So -- and the next section              20               And what I allude in the section
 21   indicates that your ship inspection happened on          21   is that basically I'm on focused on the
 22   Friday, April the 28, 2017, starting at about            22   extrinsic factors in evaluating those.
 23   11:00 a.m.?                                              23           Q. Give me an example of an intrinsic
 24           A. Correct.                                      24   factor that might apply to a case like this.
 25           Q. And so you were accompanied by                25           A. If the Plaintiff was under the
            MOCEGA & ASSOC. (305) 374-0181                                 MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                              Page 21 to 24 of 131                                     6 of 43 sheets
        Case
        Case 1:19-cv-20583-DPG Document 38-2
             1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 77 of
                                                                                       of 29
                                                                                          29
                                          25                                               27
  1    influence, obviously that would be an intrinsic           1                And then you've got a question
  2    factor, because I'm not evaluating that, I                2   down at the bottom that ends with a question
  3    cannot comment on that, but that would be an              3   mark. Is that an attempt to state a hypothesis
  4    intrinsic factor.                                         4   in this case of some type?
  5            Q. Can you think of any intrinsic                 5           A. That, in a sense, this helps
  6    factors that were present in this case that               6   define the hypothesis which is on the next
  7    were significant?                                         7   section, 3.3.
  8            A. Again, I'm not able to comment on              8           Q. Okay. Let's go there. I'm now on
  9    those because those are outside of the scope of           9   page 9 of 31.
 10    what I do and my -- it would be just an                  10                Where you state "the following
 11    assumption. I would not be able to.                      11   general hypothesis," and then it further quotes
 12            Q. Give me an example of an extrinsic            12   "a person in the exercise of reasonable care,
 13    factor that would be present in this case.               13   including Ms. Donna Padula, could have
 14            A. The performance of the surface                14   prevented this slip and fall, where a
 15    floor, for instance.                                     15   combination of environmental factors such as,
 16            Q. Was it your understanding when you            16   illumination, surface type, stairway design,
 17    embarked on this that this basically was a               17   and visible hazard signs; significantly reduced
 18    claim by a passenger that a floor surface on             18   the likelihood of the slip/fall incident under
 19    the vessel was not sufficiently slip resistant           19   evaluation."
 20    when wet leading to her slip and fall?                   20                Is that the main hypothesis that
 21            A. I read the complaint, and that's              21   you were seeking to evaluate when you reviewed
 22    the information I had to make an assessment              22   the material and went on the ship?
 23    that the flooring needed to be evaluated as              23           A. That's the hypothesis I'm trying
 24    well as --                                               24   either to support or not support. That's what
 25            Q. Okay.                                         25   I'm testing, basically.
                 MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
                                                    26                                                            28
  1               A. -- as well as the handrail, which           1           Q. Did you also formulate a
  2    again, that would be another extrinsic factor.            2   hypothesis that the cruise line exercised
  3             Q. Is it your understanding that                 3   reasonable care under the circumstances?
  4    Miss Padula was holding on to a handrail                  4            A. So those are implicit in the,
  5    associated with a flight of stairs when she               5   evaluating the environmental factors. If
  6    slipped and fell?                                         6   during the testing it shows that there was not,
  7             A. Based on what the complaint was               7   then that would be, that would be failing to
  8    mentioning, there was some sort of interaction,           8   prove my hypothesis, and by default, then
  9    yes.                                                      9   arriving to that new evaluation.
 10             Q. If a pedestrian uses a handrail to           10            Q. Okay. Take a look at the next
 11    go down a staircase, is that reasonable on               11   page I want to talk about, which is page 10 of
 12    the -- behavior on the part of the pedestrian?           12   31.
 13             A. That would depend on the                     13            A. Yes.
 14    pedestrian itself and the ability of that                14            Q. And under the section of 4.1,
 15    pedestrian. I can't comment on that. That's              15   "Visual Analysis," you make the statement down
 16    very generic.                                            16   in about the middle that "according to the
 17             Q. Do you have any criticisms of                17   Plaintiff, it is unclear if the slip initiated
 18    Miss Padula's use of a handrail in this case?            18   on the last descending tread or at the landing
 19             A. Again, that would be an                      19   of the first short stairway."
 20    interactive between the extrinsic and                    20                  What is your source for that
 21    intrinsic. I can't comment on that.                      21   belief --
 22             Q. If you go down to the section 3.2,           22            A. So --
 23    it's entitled "Problem Definition."                      23            Q. -- or understanding?
 24             A. Yes.                                         24            A. -- based on the transcripts and
 25             Q. And this is on page 8 of 31.                 25   the descriptions that were provided on the case
                 MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
7 of 43 sheets                                       Page 25 to 28 of 131                              06/14/2017 11:00:12 PM
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 88 of
                                                                                      of 29
                                                                                         29
                                         29                                               31
  1   documentation, as we just went through on page          1                 Again, the deck is a general area,
  2   five, that's section 1.4 --                             2   so it's not explicitly stated where she did.
  3           Q. Right.                                       3   And then there's a description, I think section
  4           A. -- it just -- I was not clear if             4   five, question five, the activity she was doing
  5   that was a clear definition where the slip              5   12 hours immediately before.
  6   happened. I know it happened towards the                6                 And in the -- "we were on the
  7   end --                                                  7   Lido," this is the third paragraph, some
  8           Q. I'm sorry.                                   8   photos -- "after taking some photos I was going
  9           A. I don't know -- I know it happened           9   a back to the Lido. I stepped down from the
 10   towards the end of that short stairway, but I          10   last step onto the deck. My foot slipped in
 11   don't know if it was at the landing or before,         11   water and I fell."
 12   and that's what I'm stating here.                      12                 So based on that, again, it's not
 13           Q. Your quoted statement on page 10            13   explicit if she fell as she was stepping down
 14   of 31 implies that somewhere the Plaintiff             14   or if it was on the landing or the deck.
 15   stated that she was unclear if she slipped on          15             Q. Okay. Those are answers to the
 16   the last descending tread or at the landing            16   initial interrogatories?
 17   below the last tread.                                  17             A. Correct. And then there was a
 18               Can you show me where in the               18   short one, I think --
 19   materials the Plaintiff ever made a statement          19             Q. Yes. I'm looking at your page 5
 20   like that?                                             20   of 31 of your report where you list the
 21           A. Yes, I do have the case                     21   materials that you've reviewed and --
 22   reference -- I'm in front of my computer, so --        22             A. Yes.
 23           Q. That's okay.                                23             Q. -- and one of the items that you
 24           A. -- I can access -- just letting             24   list is 1.4.6, which "Plaintiff's Notice of
 25   you know, so -- the case where is it right             25   Serving Amended Answer to Defendant's Initial
            MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
                                                 30                                                          32
  1   here, and I think I remember correctly -- give          1   Interrogatory Number two."
  2   me a minute.                                            2          A. Yes.
  3                 In the answer to the complaint --         3          Q. Do you see that?
  4           Q. Just take your time because while            4          A. Yes.
  5   you're looking I'm going to find something              5          Q. Do you have that document?
  6   else.                                                   6          A. I probably do. Not that one.
  7           A. We're both making use of time.               7          Q. See if you can't find that for us.
  8   Gotcha.                                                 8          A. Yes. This one?
  9           Q. That's the beauty of a telephone             9               MISS BAHAMONDE: Yes.
 10   deposition.                                            10               THE WITNESS: Yes, we have it in
 11           A. It's under the description of               11          front of us.
 12   her -- this is yours.                                  12   BY MR. ERIKSEN:
 13                 MISS BAHAMONDE: Yes.                     13          Q. Let's get that marked as Exhibit
 14                 THE WITNESS: I need hers.                14   5.
 15                 So part of it would be in the            15               MISS BAHAMONDE: We don't have a
 16           Plaintiff's Notice of Serving                  16          hard copy, Mike, but Dr. Basalo is
 17           Plaintiff's Answers to Defendant's             17          going to do us a favor of printing one
 18           Initial Interrogatories.                       18          for us.
 19   BY MR. ERIKSEN:                                        19               THE WITNESS: I won't charge you
 20           Q. All right. Okay.                            20          for the paper, don't worry.
 21           A. And it says "What do you claim is           21               (Thereupon, the above mentioned
 22   the cause of your fall?" Question three.               22          document was marked as Plaintiff's
 23                 And she talks about "The deck            23          Exhibit No. 5, for identification this
 24   where I fell was extremely wet; although, it           24          date.)
 25   was not raining."                                      25               THE WITNESS: We have it in front
            MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                            Page 29 to 32 of 131                                     8 of 43 sheets
        Case
        Case 1:19-cv-20583-DPG Document 38-2
             1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 99 of
                                                                                       of 29
                                                                                          29
                                          33                                               35
  1               of us.                                              1   second, the amended answer to interrogatory
  2    BY MR. ERIKSEN:                                                2   number two.
  3               Q. Okay. Let's make that as Exhibit                 3             A. Okay.
  4    5.                                                             4             Q. Where she said "The incident
  5                    And then doesn't the Plaintiff                 5   happened as I was stepping down to the floor
  6    there say, and I quote, "The incident happened                 6   from the last step in a flight of terrace
  7    as I was stepping down to the floor from the                   7   steps. As my foot came down on the floor, it
  8    last step in a flight of terrace steps. As my                  8   suddenly slipped out from beneath me and I
  9    left foot came down on the floor it suddenly                   9   fell."
 10    slipped out from underneath me and I fell. The                10                 Have I quoted that accurately?
 11    fall happened fast."                                          11             A. Yes.
 12               A. Yes.                                            12             Q. So, is it also true that the floor
 13               Q. Okay. So I mean, the Plaintiff                  13   just below the last step or the last tread
 14    has said twice now that this slip and fall                    14   would be the landing?
 15    happened not on the last tread of the flight of               15             A. It appears to be that. And then
 16    stairs that she was coming down, but as she got               16   it would go to the first answers to
 17    her foot down on the floor below the last                     17   interrogatories, which also serves as evidence
 18    tread, correct?                                               18   to evaluate where it happened. It says, and I
 19            A. Again, there's room for                            19   quote section five, third paragraph, "As I
 20    interpretation of what's happening there. It's                20   stepped down from the last step onto the deck,
 21    not explicitly saying that I slipped on the                   21   my foot slipped in water and fell."
 22    landing deck.                                                 22                 We don't know if as she was
 23                    In fact -- I mean, I -- when I                23   stepping down if it was the contact of her foot
 24    look at it from a scientific point of view, I                 24   with the landing surface or if it was on the
 25    cannot decide one or the other, and that's why                25   other one because of how she was holding
                 MOCEGA & ASSOC. (305) 374-0181                                    MOCEGA & ASSOC. (305) 374-0181
                                                          34                                                                  36
  1    I basically tested both surfaces' areas. So                    1   herself.
  2    from my standpoint, since I'm not a hundred                    2              So from the evidence that I'm
  3    percent sure and there's not an assurance for                  3   provided, it would take me to assume something,
  4    me to determine where it happened, then I have                 4   and I cannot take assumptions given that I'm
  5    the duty to test both surfaces in order to test                5   trying to test the hypothesis. So to that
  6    my hypothesis.                                                 6   extent, because I don't have a hundred percent
  7          Q. Okay. I understand that. But my                       7   assurance where the incident happened, based on
  8    questions relate back to the assertion you make                8   the information provided by the Plaintiff on
  9    on page 10 of 31 that "according to the                        9   the amended answers, I can only assume that it
 10    Plaintiff, it is unclear if the slip initiated                10   was either on the last step or the one before.
 11    on the last descending tread or at the landing                11          Q. Okay. But my question was very
 12    of the first short stairway."                                 12   simple, though, and that is, in the abstract
 13               A. Uh-huh.                                         13   is, do we call the floor just below the last
 14               Q. You did make that statement in                  14   tread the landing?
 15    your report?                                                  15          A. Right. That's -- I'm not sure if
 16           A. That's correct.                                     16   that's what she's referring to or -- and even
 17            Q. And the Plaintiff has said that                    17   when you go talk before about it, she's going
 18    the slip initiated not on the last descending                 18   on the Serenity Lido Deck. It doesn't even
 19    tread but on the landing just below the last                  19   specify the terrace steps, I think from the
 20    tread, did she not?                                           20   first one and the second one which terrace step
 21               A. Well, it does not say landing,                  21   it was.
 22    right?                                                        22                 I had to go by what Sandra
 23               Q. Well, let's go over what she said               23   provided me saying that this was the area, the
 24    again.                                                        24   landing that it happened.
 25                    I'm looking at her answer to the              25                 When I reviewed the documentation
                 MOCEGA & ASSOC. (305) 374-0181                                    MOCEGA & ASSOC. (305) 374-0181
9 of 43 sheets                                            Page 33 to 36 of 131                                     06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                           Entered on
                                                   on FLSD
                                                      FLSD Docket
                                                           Docket 06/26/2017
                                                                  11/15/2019 Page
                                                                             Page 10
                                                                                  10 of
                                                                                     of 29
                                                                                        29
                                        37                                              39
  1   I wasn't even sure which of the set of terrace             1   report.
  2   steps it was. So I have evidence in front of               2               On page 11 of 31 you state down in
  3   me, and I read it and interpret it in order to             3   section 4.1.7 that "This passage is an access
  4   make an unbiased decision and then develop an              4   to the water 'Twister water slide located at
  5   experimental test campaign.                                5   the center of the vessel."
  6               And again, I know you're saying                6               What did you mean by that?
  7   something very simple, but based on what's                 7           A. So the set of terrace steps along
  8   stated there, as well as the other, you know,              8   joining deck ten with deck eleven provides
  9   answers that she has provided, it is unclear if            9   access to go further up on to deck twelve to go
 10   maybe as she was stepping down it was the step            10   to the top of the water slide, Twister water
 11   that was on the, maybe, nosing of the last step           11   slide tube.
 12   that's where she, because she lost her balance.           12           Q. Okay. Is that illustrated in one
 13   I think she states -- so maybe it was because             13   of the three pictures that make up figure seven
 14   the last step was wet and she fell there, or it           14   on page 14 of 31 of your report?
 15   was once she landed on the landing, which would           15           A. Right. Figure seven, starting on
 16   be the deck -- I'm not sure.                              16   the left you can see in the middle left-hand
 17               I mean, we can keep going at this,            17   side of that picture the end of the water
 18   but my assertion is that I'm not sure from the            18   slide. And then basically that shows the path
 19   information provided, and therefore, I test               19   that somebody would walk towards up that flight
 20   both surfaces.                                            20   of steps, up again to the flight of steps to
 21           Q. And I understand that perfectly.               21   the start of the Twister, and that's -- the
 22   But my question is very simple to a person that           22   intent is to show that.
 23   has training in architecture and engineering,             23           Q. Let's zero in on the larger of the
 24   and teaches in that department at the                     24   three photographs that make up figure seven.
 25   University of Miami.                                      25           A. Yes.
            MOCEGA & ASSOC. (305) 374-0181                                  MOCEGA & ASSOC. (305) 374-0181
                                                    38                                                           40
  1                 Is the floor below the last step             1
  2   of a flight of stairs referred to by people in             2           Q. And I'm referring to the one over
  3   your profession as "the landing"?                          3   on the left side of the page on the bottom, do
  4                 MISS BAHAMONDE: Mike, I'm going              4   you see that?
  5            to object, just -- Dr. Basalo has done            5           A. Yes.
  6            his best to answer the question. I                6           Q. So the large arrow, I presume, is
  7            think he's attempted it numerous times.           7   intended to show the bottom of the water slide?
  8            If you want to rephrase the question,             8           A. That's correct.
  9            maybe that would help.                            9           Q. And then the "X" would mark the
 10                 MR. ERIKSEN: No, I'll stick with            10   spot where you believe, or the general area
 11            the one I've got.                                11   where the incident happened?
 12                 MISS BAHAMONDE: You can answer.             12           A. That's where I conducted my tests,
 13                 THE WITNESS: So the last step,              13   yes.
 14            the surface after the last step would            14           Q. And if you go, this is actually
 15            be the landing, yes.                             15   looking from the forward to aft on the ship,
 16   BY MR. ERIKSEN:                                           16   that big Carnival red smokestack you see is
 17            Q. Thank you.                                    17   toward the rear of the ship?
 18                 She goes on to say in that same             18           A. Yes.
 19   interrogatory answer as amended that "I noticed           19           Q. And so as one -- if you start at
 20   there was a lot of water on the floor in the              20   the location of the "X" in that photograph and
 21   area where I slipped."                                    21   you start walking towards the aft of the ship,
 22                 Do you dispute that the floor               22   or the rear of the ship, you have to go down a
 23   where she slipped was wet at the time?                    23   series of terrace steps to get there?
 24            A. No, I don't.                                  24           A. Correct.
 25            Q. Let's just keep going through your            25           Q. And how many, in general terms, if
            MOCEGA & ASSOC. (305) 374-0181                                  MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                               Page 37 to 40 of 131                                     10 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 11
                                                                                   11 of
                                                                                      of 29
                                                                                         29
                                         41                                              43
  1   we look at figure six in the photograph towards               1   care, including Miss Padula, could have
  2   the left, on the left-hand side of the page,                  2   prevented the fall and/or slip; where a
  3   does that give us an example of what each of                  3   combination of environmental factors such as,
  4   those terrace steps looks like?                               4   illumination, surface type, stairway design,
  5           A. That gives us the picture of the                   5   and visible hazard signs; significantly reduced
  6   terrace, the set of terrace steps that I                      6   the likelihood of the slip/fall incident under
  7   evaluated.                                                    7   evaluation."
  8           Q. Okay. So I'm moving forward to                     8           A. Yes. So if you notice on that
  9   page 15 of 31 of your report --                               9   same section 3.3 there's a set of references
 10           A. Yes.                                              10   that I put --
 11           Q. -- where section 4.2 is entitled                  11           Q. Right.
 12   "Stairway Evaluation."                                       12           A. -- in terms of research and kind
 13           A. Yes.                                              13   of lessons learned. I could point to one,
 14           Q. Are you there?                                    14   which is a well established and renown, which
 15                Okay. So I'm just going to                      15   is Templer 1995. And that is the Staircase
 16   summarize, but it appears that you, you know,                16   Studies of Hazards, Falls and Safer Design.
 17   at that point you are talking about a series of              17   That book basically provides critical parameter
 18   measurements that you took on the ship during                18   designs, basically measurements of handrail
 19   your inspection of the geometry, if you will,                19   height, the step, tread, the depth of the
 20   of a set of those terrace steps?                             20   riser, etcetera, etcetera, in terms of what
 21           A. In general, yes.                                  21   works and what doesn't work in order to make a
 22           Q. And to include the handrail,                      22   stairway safe.
 23   handrails?                                                   23                And based on that, I need to
 24           A. That's correct.                                   24   evaluate if the stairway that is being under
 25           Q. If the claim in this case is that                 25   evaluation and, you know, the components of
              MOCEGA & ASSOC. (305) 374-0181                                   MOCEGA & ASSOC. (305) 374-0181
                                                    42                                                              44
  1   it was a slip and fall on a wet deck surface                  1   that stairway, in this case the handrails, meet
  2   that happened when she put one of her feet                    2   well-known established safety criteria.
  3   down, how does evaluating the stairways                       3           Q. When I talk about stairway
  4   geometry relate to that in any way?                           4   geometry, I'm talking about, you know, things
  5            A. So I would answer it in two parts.                5   like the depth of the treads and the height of
  6   The first part, Plaintiff did mention that she                6   the risers and the height of the handrail. Is
  7   was interacting with the handrail, and --                     7   that what you understand to be stairway
  8            Q. Right.                                            8   geometry?
  9            A. -- and if the handrail was in any                 9           A. Yeah. And I extend that typically
 10   way, you know, defective, then it would                      10   also to handrails, since handrails --
 11   increase the risk of a fall, and that would be               11           Q. Right.
 12   an environmental factor. So therefore, it is                 12           A. -- are part of the stairway.
 13   necessary to evaluate the characteristics of                 13           Q. So if your hypothesis that you're
 14   the handrail as it is, in fact, part of my                   14   trying to prove or disprove is whether "a
 15   hypothesis, which is an environmental factor                 15   person in the exercise of reasonable care,
 16   that can either increase or reduce the risk of               16   including Miss Donna Padula, could have
 17   a fall, if not properly designed and installed.              17   prevented the fall and/or the slip," how does
 18            Q. I'm going back to your hypothesis                18   anything about the stairway geometry prove or
 19   stated on page 9 of 31. Can you go back there                19   disprove that?
 20   for me just a minute?                                        20           A. Right. So let's assume that what
 21            A. I'm right there.                                 21   happens in a lot of cases that the step riser
 22            Q. I want you to tell me how the                    22   was maybe too short. Okay?
 23   stairway geometry and your measurements of it                23           Q. Yes.
 24   would prove or disprove the general hypothesis               24           A. That is a huge safety issue. And
 25   that "a person in the exercise of reasonable                 25   it's actually noncompliant in many ways. So by
              MOCEGA & ASSOC. (305) 374-0181                                   MOCEGA & ASSOC. (305) 374-0181
11 of 43 sheets                                         Page 41 to 44 of 131                             06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                           Entered on
                                                   on FLSD
                                                      FLSD Docket
                                                           Docket 06/26/2017
                                                                  11/15/2019 Page
                                                                             Page 12
                                                                                  12 of
                                                                                     of 29
                                                                                        29
                                        45                                              47
  1   measuring the geometry, we can evaluate if that       1   likelihood that the incident was preventable by
  2   environmental factor was the cause, so in that        2   a reasonable person like Miss Padula."
  3   case it would basically contradict my                 3                And then you say "The Plaintiff,
  4   hypothesis because the stairway was, in fact,         4   Miss Donna Padula, failed to use reasonable
  5   something that would increase the likelihood of       5   care when walking through the incident area."
  6   the slip and fall. Does that make sense?              6                So my question is, what, of what
  7           Q. It seems like -- I'm sorry.                7   relevance are your measurements of the stairway
  8           A. Does that make sense?                      8   geometry to support those conclusions?
  9           Q. Well, it just seems like to me on          9           A. So since the stairway design and
 10   page 9 of 31, the way you state your                 10   the handrail design and the surface coefficient
 11   hypothesis, it's basically whether or not            11   of friction of the surface is both static and
 12   Miss Padula, by exercising reasonable care,          12   dynamic and the evaluations that I made during
 13   could have prevented the fall and/or the slip.       13   the inspection meet best safety design
 14               And --                                   14   practices, it is reasonable to then test the
 15           A. But remember, it's where a                15   hypothesis that those environmental factors
 16   combination --                                       16   significantly reduced the likelihood of a slip
 17           Q. What did you find in your                 17   and fall. And, therefore, a person exercising
 18   measurement of the stairway geometry that            18   reasonable care would have been able to prevent
 19   tended to prove or disprove any part of that         19   that accident.
 20   hypothesis?                                          20                And that's the statement.
 21           A. Okay. So we'll break the                  21           Q. Was it your conclusion that
 22   hypothesis in two parts. All of the references       22   somehow Miss Padula failed to exercise
 23   in terms of, that are being provided both for        23   reasonable care in the way that she descended
 24   the stairway design as well as coefficient of        24   that two-step stairway?
 25   friction of surfaces are assumed and have been       25           A. Again, what I can say is that
            MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
                                               46                                                          48
  1   developed, assuming that the user, the                1   because those elements, the stairway design,
  2   pedestrian, exercises reasonable care.                2   the handrail, the floor met best practices and
  3              Obviously, if you don't exercise           3   safety standards, there's a high likelihood
  4   reasonable care, even if you provide a safe           4   that they provided a safe descend or a safe
  5   stairway, there's nothing you can do.                 5   passage for any person exercising reasonable
  6              Maybe an analogy, you know, if you         6   care.
  7   decide to run a red light when you know you           7               And, therefore, by default if a
  8   should stop at a red light and then there's an        8   reasonable person was passing through there, it
  9   accident after that, well, obviously that's           9   would have been a preventable accident.
 10   because you ran the red light.                       10   There's a high likelihood of that happening.
 11              So taking that analogy in the             11           Q. Okay. But again, I'm trying to
 12   hypothesis, assuming that there's a reasonable       12   match up your hypothesis on page 9 and your
 13   person interacting with these environmental          13   conclusion on page 30.
 14   factors, and that's the second part of the           14           A. Yes.
 15   hypothesis, if those environmental factors meet      15           Q. The hypothesis as stated on page 9
 16   what is agreed to be general, safe, best             16   is whether "a person in the exercise of
 17   practice designs, the environmental factors can      17   reasonable care, including Miss Donna Padula,
 18   be eliminated from the equation in terms of          18   could have prevented the fall and/or slip."
 19   what caused the actual accident, and therefore,      19               And in the conclusions, one of the
 20   it reduces the likelihood.                           20   conclusions on page 30 is "The Plaintiff,
 21              There's no way for me to say the          21   Miss Donna Padula, failed to use reasonable
 22   actual cause of the accident. I can only             22   care when walking through the incident area."
 23   present likelihoods. So --                           23               Have I stated those words of yours
 24          Q. Well, on page 3 of 31 under                24   correctly?
 25   "Conclusions," you state "There's a high             25           A. Yes.
            MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                          Page 45 to 48 of 131                                    12 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG   Document 38-2
            1:16-cv-23862-JAL Document      75-3 Entered
                                                  Entered on
                                                          on FLSD
                                                             FLSD Docket
                                                                  Docket 06/26/2017
                                                                           11/15/2019 Page
                                                                                        Page 13
                                                                                              13 of
                                                                                                 of 29
                                                                                                    29
                                               49                                                   51
  1         Q. Okay. So my question to you is,         1        A. So if I were to restate the
  2   tell me now how Miss Padula failed to use             2   conclusions on section six, maybe this helps,
  3   reasonable care in her descent of that two-step       3   and I would be glad to amend it, that third
  4   flight of stairs we've been talking about?            4   paragraph, I should state, that there is a high
  5           A. The assumption made is that                5   likelihood that the Plaintiff, Miss Donna
  6   because those elements meet criteria, then the        6   Padula, failed to use reasonable care.
  7   interaction with those elements might have not        7                It is implied from the paragraph
  8   been handled correctly.                               8   before since there was a high likelihood that
  9           Q. Is it your understanding that she          9   the incident was preventable. That's not --
 10   had her hand on the handrail for most of her         10           Q. Okay. But I get that. But do you
 11   descent of that stairway?                            11   have any basis to conclude that she failed to
 12           A. That is what I infer from the             12   use reasonable care in the way that she put one
 13   answer to the interrogatories.                       13   foot in front of the other in descending that
 14           Q. Is it your belief that that was           14   two step flight of stairs, just before she
 15   not reasonable care on her part? Or was that         15   slipped and fell on the landing?
 16   reasonable care on her part?                         16           A. So going back to my hypothesis,
 17                MISS BAHAMONDE: Objection.              17   I'm testing the combination of environmental
 18                THE WITNESS: I don't know to            18   factors reduced that likelihood of slip and
 19           which manner she was holding, if there       19   fall, which, in general, I was able to satisfy,
 20           was a tight grip, as you would normally      20   and therefore, a person exercising reasonable
 21           go around, or the hand was just              21   care could have prevented the slip and fall.
 22           positioned over the surface or, if she       22                So since those provided a reduced
 23           was holding something with -- I don't        23   likelihood of slip and fall, the second part of
 24           know.                                        24   my hypothesis is not supported, and that's the
 25                So my only assumption is I know         25   statement. So I'm following the hypothesis as
              MOCEGA & ASSOC. (305) 374-0181                           MOCEGA & ASSOC. (305) 374-0181
                                               50                                                          52
  1          that the handrail met the criteria and         1   it was made.
  2          if it was used correctly it would have         2           Q. I mean, is it your premise that
  3          been a high likelihood that the                3   anyone who is unfortunate enough to slip on a
  4          incident was preventable.                      4   wet flooring surface has somehow failed to
  5   BY MR. ERIKSEN:                                       5   exercise reasonable care?
  6          Q. I mean, can you state to any                6           A. There's a high likelihood that
  7   degree of probability that Miss Padula failed         7   they failed to use reasonable care, yes.
  8   to exercise reasonable care in the way that she       8           Q. Based on what?
  9   used the handrail?                                    9           A. So we go back. We're going in
 10          A. It would be a high likelihood that         10   circles over here. So if the boundary
 11   she failed to use reasonable care.                   11   conditions -- if you have a red light, go back
 12          Q. Okay. So based on what?                    12   to the traffic, since Miami is crazy, and we
 13          A. We go back again, based on the             13   all like traffic. If you have a red light that
 14   environmental factors that I measured, if a          14   is operating in correct timing and correct
 15   reasonable person were to interact with these        15   parameters of traffic and you decide to run the
 16   elements, those elements provided a safe and         16   red light, because you're in a rush, whatever
 17   reasonable passage to walk through.                  17   the reason might be, and you fail to use
 18                So the assumption --                    18   reasonable care for running the red light and
 19          Q. Yes.                                       19   there's an accident, obviously it increases the
 20          A. So the assumption is that if it            20   likelihood of that accident. Even if that red
 21   was a safe environment with correct design,          21   light was at 4:00 a.m., at midnight, in the
 22   criteria and coefficient of friction, etcetera,      22   middle of nowhere and you think that well,
 23   then obviously there was no reasonable care          23   nothing is going to happen, there's still a
 24   when using those items.                              24   high likelihood of an accident happening. If
 25          Q. When --                                    25   the light were not to be working and operating
              MOCEGA & ASSOC. (305) 374-0181                           MOCEGA & ASSOC. (305) 374-0181
13 of 43 sheets                                 Page 49 to 52 of 131                            06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                           Entered on
                                                   on FLSD
                                                      FLSD Docket
                                                           Docket 06/26/2017
                                                                  11/15/2019 Page
                                                                             Page 14
                                                                                  14 of
                                                                                     of 29
                                                                                        29
                                        53                                              55
  1   correctly, then the environmental factors would       1               I mean, should a wet floor on a
  2   increase that likelihood of accident happening.       2   Carnival cruise ship signify any more danger to
  3   So the point here is, I'm basing on the               3   a lay passenger than it does to the Carnival
  4   combination of environmental factors that if          4   crew members who are assigned to keep the floor
  5   they reduce the likelihood of an accident             5   clean and dry?
  6   happening, therefore, a person exercising             6          A. That depends, because what it has
  7   reasonable care can prevent it. The likelihood        7   to say is that if a wet floor, which in this
  8   increases.                                            8   case it's known to, and it's classified, in
  9           Q. Should a wet floor say the same            9   fact, as a floor that will be wet on numerous
 10   thing to a pedestrian as a red light says to a       10   occasions, then what it needs to signify to
 11   motorist?                                            11   Carnival is that they need to provide the
 12           A. A reasonable person should, yes.          12   correct flooring and environmental mechanisms
 13           Q. Why?                                      13   to make sure that it remains a safe place to
 14           A. Because you need to exercise more         14   walk.
 15   care when walking over a surface.                    15          Q. With the environmental mechanisms
 16               I think it's a good analogy, I           16   that Carnival would be responsible to include
 17   have a four year old, we were at a friend's          17   adequate maintenance to keep the floor clean
 18   house in a pool, and one of the moms kept            18   and dry at all times?
 19   saying "walk, walk," so children, especially         19          A. It's interesting you say "at all
 20   four year olds, do not exercise reasonable           20   times." So there's also a reasonable level of
 21   care, because their needs are focused on             21   general maintenance. So I would say that, yes,
 22   something else. And in the pool deck they were       22   there has to be a reasonable level of
 23   running around on a wet surface. But the             23   maintenance, that is scheduled and that it's
 24   mother that was looking at her son, clearly          24   reasonable for the use that that surface floor
 25   understood that she needed to exercise               25   or any given section on the vessel has based on
            MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
                                               54                                                          56
  1   reasonable care on behalf of her son to walk on       1   its application.
  2   a wet surface, even though that surface was,          2            Q. I'm getting off the track here. I
  3   met all of the coefficient of friction, it was        3   wanted to go through your report in some kind
  4   very rough.                                           4   of an orderly sequence, so let's try to get
  5                So again, I made that example to         5   back to that.
  6   reiterate that, yes, if the factors of a              6            A. Sure.
  7   surface that you're walking on defer from what        7            Q. We may have last been talking
  8   you normally walk on, then you should be paying       8   about some language on page 11 of 31 where you
  9   more attention and exercise reasonable care.          9   state in section 4.1.7 --
 10           Q. Should a wet deck on a Carnival           10            A. Yes.
 11   cruise ship say the same thing to Carnival as a      11            Q. -- that "this passage is an access
 12   red light says to a motorist?                        12   to the water 'Twister water slide' located at
 13           A. These are two different things. I         13   the center of the vessel."
 14   was just trying to make an analogy with that.        14                MISS BAHAMONDE: Excuse me.
 15           Q. Oh, but can you answer my                 15   BY MR. ERIKSEN:
 16   question?                                            16            Q. Is it your understanding that,
 17           A. So they're disconnected. It's             17   that water gets on to this series of terrace
 18   just an analogy. I think that's an answer.           18   steps from time to time because passengers
 19           Q. Well, I mean, should a wet floor          19   using the water slide and the pool, the
 20   appear any more dangerous to a passenger on a        20   transfer of water over there in their wet swim
 21   cruise ship than the people who take care of         21   trunks is attempting to get back to the top of
 22   the wet floor?                                       22   the water slide?
 23           A. So can you repeat the question,           23            A. The intent of this statement is
 24   please?                                              24   that it helps me classify the sort of surface
 25           Q. Yes.                                      25   if it's generally wet or generally dry when I
            MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                          Page 53 to 56 of 131                                    14 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 15
                                                                                   15 of
                                                                                      of 29
                                                                                         29
                                         57                                              59
  1   do my tests. And based on that assumption, it         1   maintains, calibrates and provides the
  2   is reasonable to assume that this area will           2   equipment.
  3   generally be wet under normal usage conditions.       3           Q. Is that a type of tribometer?
  4          Q. That would be reasonable for                4           A. That is a type. In fact, the BOT
  5   Carnival to assume that as well, correct?             5   stands for binary output tribometer.
  6          A. That would be reasonable as well.           6           Q. Is that a device that can be used
  7   Yes.                                                  7   to test the slip resistance of a flooring
  8          Q. Bear with me.                               8   surface when it's wet and dry?
  9          A. Sure.                                       9           A. Under static and dynamic
 10          Q. Okay. I want to go to page 21 of           10   conditions, yes.
 11   31 of your report, which is Exhibit 1 to the         11           Q. When is the first time that you
 12   deposition -- two to the deposition, I'm sorry.      12   personally ever operated a BOT 3000?
 13          A. Page 21?                                   13           A. Probably back in 2012.
 14          Q. Yes, sir.                                  14           Q. And what was the situation that
 15          A. Yes.                                       15   gave rise to that?
 16          Q. Okay. Is that where you begin to           16           A. I was looking at test methods and
 17   talk about your assessment of the flooring?          17   test standards for measurement of coefficient
 18          A. That's part of it, yes. So I make          18   of friction and we looked at different devices
 19   evaluations first on what was observed and then      19   that already exist and the standards that exist
 20   I interpret those evaluations on chapter five.       20   in order to understand the state of the art at
 21          Q. Okay. If you go down to --                 21   that time.
 22          A. This is the fourth paragraph?              22           Q. I think you mentioned that you got
 23          Q. No, the first paragraph, actually,         23   into forensic consulting like this case
 24   under "Surface Evaluation." Do you state there       24   sometime in 2016; is that correct?
 25   "To test the hypothesis, an evaluation to            25           A. Last yes, sir, summer of last
              MOCEGA & ASSOC. (305) 374-0181                           MOCEGA & ASSOC. (305) 374-0181
                                               58                                                           60
  1   determine quantitatively and qualitatively the        1   year.
  2   condition of the deck and stairway surface at         2           Q. How many -- how many times have
  3   the complaint location based on visual and            3   you operated a BOT 3000 since then?
  4   coefficient of friction measurements was              4           A. Since then about -- for each of
  5   undertaken."                                          5   the cases -- well, actually not all cases.
  6                Were you attempting, in doing            6   Maybe six or seven times.
  7   that, to reach some determination about the           7           Q. And you said the first time you
  8   condition of the flooring at the time of this         8   had operated a BOT 3000 was in 2012?
  9   incident which took place nearly a year and a         9           A. That's correct.
 10   half before you inspected the ship?                  10           Q. What do you think the total number
 11           A. So what I'm trying to do is test          11   of times you've operated a BOT 3000 is?
 12   the hypothesis, which we go back to page 9,          12           A. How do you define the number of
 13   clearly states that I'm testing the combination      13   times that you've operated it as?
 14   of environmental factors and if those reduce         14           Q. Well, just -- okay. I understand
 15   the likelihood. So I was only able to do that        15   you might, in a single session, you know,
 16   at the time that I did it, and the measurements      16   operate it on more than one different course.
 17   that I took I'm using them in order to relate        17   But in terms of just composite occasions that
 18   to the incident.                                     18   you've used the BOT 3000 since 2012, how many
 19           Q. Okay. So you used a device called         19   times --
 20   a BOT 3000E?                                         20           A. I would say about double that
 21           A. Correct.                                  21   time.
 22           Q. Do you own that device yourself?          22           Q. Are you certified to use the BOT
 23           A. I don't.                                  23   3000?
 24           Q. Who does own it?                          24           A. Certification of that sort of
 25           A. So I rent it from a company that          25   equipment doesn't exist.
              MOCEGA & ASSOC. (305) 374-0181                           MOCEGA & ASSOC. (305) 374-0181
15 of 43 sheets                                 Page 57 to 60 of 131                             06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                           Entered on
                                                   on FLSD
                                                      FLSD Docket
                                                           Docket 06/26/2017
                                                                  11/15/2019 Page
                                                                             Page 16
                                                                                  16 of
                                                                                     of 29
                                                                                        29
                                        61                                              63
  1           Q. Who is the manufacturer of the BOT                 1   was, how do you measure coefficient of
  2   3000?                                                         2   friction, and what is the state of the art? So
  3           A. Give me a second. I'll recall                      3   we were, you could say, interacting with the
  4   their name. It is Regan Scientific.                           4   different available equipment and test methods
  5           Q. Have you ever taken the classes on                 5   at the time to further understand, again, the
  6   the BOT 3000 from Regan Scientific?                           6   state of the art of that measurement.
  7           A. They don't offer any classes on                    7           Q. Who is the "we" in that sentence?
  8   how to operate the device.                                    8           A. Our research lab. So this is --
  9           Q. Are you self-taught for that                       9   it's a royal we as well. I mean, I was, I was
 10   device?                                                      10   part of, at the time, an associate research
 11           A. I guess you could say that, yes.                  11   professor here at the University of Miami, and
 12           Q. Now, I notice elsewhere in your                   12   this is part of my interest in terms of what,
 13   report you were critical of another device used              13   what I'm doing in the lab.
 14   by the Plaintiff's expert called an XL                       14           Q. Did you publish anything that we
 15   Tribometer.                                                  15   could look at that describes your methodology
 16           A. Correct. You're referring to                      16   and conclusions?
 17   which section on the report?                                 17           A. No. This was internal, just
 18           Q. Yes.                                              18   laboratory testing, and again, you could say we
 19           A. Section 5.4?                                      19   were playing around with the different devices
 20           Q. Just to refer the reader to the                   20   to understand the state of the art.
 21   part of that report where you criticize that                 21           Q. What type of surfaces did you use
 22   device, I think it's -- we start on page 28 of               22   those devices on?
 23   31 under the section 5.4, "Opposing Expert                   23           A. Concrete surfaces, tiled surfaces,
 24   Report review."                                              24   epoxy-based surfaces. I think we did a rough
 25           A. Yes.                                              25   carpeted type of surfaces. These are the
            MOCEGA & ASSOC. (305) 374-0181                                     MOCEGA & ASSOC. (305) 374-0181
                                                    62                                                             64
  1           Q. So you've expressed some                           1   synthetic type of low profile surfaces that
  2   criticisms there about the English XL                         2   exist. Smooth marble surfaces.
  3   Tribometer that you understood was used by                    3           Q. Are you familiar with the
  4   Mr. Ford, who is the Plaintiff's expert?                      4   manufacturer of the XL Tribometer?
  5           A. Correct.                                           5           A. Familiar in what way?
  6           Q. Have you personally ever used an                   6           Q. Who they are.
  7   English XL Tribometer?                                        7           A. I mean, I can't recall, again,
  8           A. Yes.                                               8   with Regal, just like Regal Scientific, but I
  9           Q. How many times?                                    9   can look it up.
 10           A. In fact, when -- about five to                    10           Q. Where did you obtain the XL
 11   seven times on --                                            11   Tribometer that you used in 2012?
 12           Q. During what time period?                          12           A. I think we rented it from,
 13           A. 2012.                                             13   again -- there's companies out there that rent
 14           Q. Okay. And what -- was that the                    14   certified equipment.
 15   same time that you used a BOT 3000 for the                   15           Q. And again, when you use the term
 16   same, for some purpose?                                      16   "we," are you talking about yourself?
 17           A. That's correct.                                   17           A. Yes, I say "we" because the
 18           Q. What was going on at that time                    18   funding I was provided. So the people that
 19   that led you to use both a BOT 3000 and an                   19   gave me the money, I should thank them as well
 20   English XL Tribometer?                                       20   for supporting my research. So I was able to
 21           A. We always, I should add, that we                  21   rent the, even though it wasn't my money, the
 22   used a British pendulum test and a drag pull,                22   equipment.
 23   so as part of our research we look at test                   23           Q. Do you know how old the XL
 24   standards and different methods that are there,              24   Tribometer unit that you rented was in 2012?
 25   as well as equipment. And the interest here                  25           A. I can't recall, but I do recall
            MOCEGA & ASSOC. (305) 374-0181                                     MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                                  Page 61 to 64 of 131                                    16 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 17
                                                                                   17 of
                                                                                      of 29
                                                                                         29
                                         65                                              67
  1   that we wanted to have equipment that were            1                 MISS BAHAMONDE: Mike, we're going
  2   certified and that were operating under               2           to have to take a break so I can add
  3   manufacturer's specifications.                        3           some more parking to my car.
  4          Q. Does the XL Tribometer                      4                 MR. ERIKSEN: Okay. Not a
  5   manufacturer offer a certification course?            5           problem. And I forgot to mention, sir,
  6          A. I am not aware.                             6           that you get to take breaks, so you can
  7          Q. Does the XL Tribometer offer any            7           call for a break every 15 minutes if
  8   classes for its use?                                  8           you want to. That's fine.
  9          A. Again, I'm not aware if there's,            9                 THE WITNESS: I appreciate. I
 10   other than -- I'm not aware.                         10           just want to move forward so we can --
 11          Q. Have you ever been certified by            11                 MR. ERIKSEN: Me, too.
 12   the manufacturer to use the XL Tribometer?           12                 MISS BAHAMONDE: Yes, I will be
 13          A. I'm not aware if there's a                 13           right back.
 14   certification course to operate the device.          14                 (Thereupon, a short recess was
 15          Q. Are you familiar with the term             15           taken.)
 16   sequencer as it relates to an XL Tribometer?         16   BY MR. ERIKSEN:
 17          A. You're referring to the little             17           Q. Let's talk some more about page 21
 18   trigger that it has on the piston?                   18   of 31.
 19          Q. I just want to ask you if you know         19           A. Yes.
 20   what a sequencer is as it relates to an XL           20           Q. Before we get there. I want to go
 21   Tribometer?                                          21   back to page 28 of 31 under section 5.4.1,
 22          A. So based on what I said, that's            22   referring to the English XL Tribometer, you
 23   what I understand. That's my understanding of        23   state "The operator is required to fully
 24   it.                                                  24   depress the actuating valve for approximately a
 25          Q. Do you know whether or not the XL          25   half a second. This valve is sensitive to the
              MOCEGA & ASSOC. (305) 374-0181                           MOCEGA & ASSOC. (305) 374-0181
                                               66                                                             68
  1   Tribometer, either the one that you used in           1   amount of force or speed used by the operator
  2   2012 or any since, have a pneumatic timing            2   to depress it; therefore yields precision
  3   element that returns the actuation button to          3   issues which raises the possibility that the
  4   the up position after a certain set amount of         4   operator can influence the result."
  5   time?                                                 5                Do you know whether or not on
  6          A. I'm assuming you're reading off             6   Mr. Ford's device he was required to "fully
  7   some manufacture specification, it sounds like        7   depress the actuating valve for approximately
  8   it. And again, this is a very specific                8   five seconds," or whether the valve on his
  9   question and I'm -- I wouldn't be able to             9   device was "sensitive to the amount of force or
 10   answer right now.                                    10   speed used by the operator to depress it"?
 11          Q. Okay. Well, I own an XL                    11           A. I was not present during his
 12   Tribometer, so I don't need to read off of           12   inspection, so I'm not sure. I can't answer
 13   anything.                                            13   that question.
 14               All right. So the answer is, you         14           Q. Your experience with the English
 15   don't know the answer to my question about           15   XL relates to a unit that you used in 2012 and
 16   whether or not either the XL that you rented         16   you don't know how old that unit was when you
 17   and used in 2012 or any since have a pneumatic       17   rented it, correct?
 18   timing element that returns the actuation            18           A. That's correct.
 19   button to the up position after a set amount of      19           Q. Let's go back to page 21 of 31.
 20   time?                                                20                Okay. We talked about the BOT
 21          A. At this point I cannot answer that         21   3000 as being a device that you used in -- is
 22   question.                                            22   it your understanding that the English XL
 23          Q. Have you used an XL Tribometer for         23   Tribometer attempts to replicate a foot strike
 24   any purpose since 2012?                              24   on the flooring?
 25          A. No.                                        25           A. Correct.
              MOCEGA & ASSOC. (305) 374-0181                           MOCEGA & ASSOC. (305) 374-0181
17 of 43 sheets                                 Page 65 to 68 of 131                               06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG    Document 38-2
           1:16-cv-23862-JAL Document        75-3 Entered
                                                  Entered on
                                                          on FLSD
                                                             FLSD Docket
                                                                  Docket 06/26/2017
                                                                            11/15/2019 Page Page 18
                                                                                                 18 of
                                                                                                    of 29
                                                                                                       29
                                               69                                                      71
  1        Q. And the BOT 3000, does it attempt         1       Q. And if it's, in a 1 percent
  2   to do that?                                            2   solution in distilled water, does that mean
  3           A. The BOT 3000 measures the                   3   that 99 percent of the solution is distilled
  4   coefficient of friction between two surfaces.          4   water --
  5           Q. Correct.                                    5            A. Right. Point --
  6                But is there any part of the BOT          6            Q. Let me start that over again.
  7   3000 device that attempts, like the English XL,        7                 If -- I think you said here that
  8   to replicate a foot strike on the surface?             8   it's a concentration of .1 percent in distilled
  9           A. It replicates measuring the static          9   water. So does that mean that the distilled
 10   and dynamic coefficient of friction between two       10   water is 99.9 percent distilled water and the
 11   surfaces or the --                                    11   rest of it is sodium laureth sulfate?
 12           Q. Is the English XL an articulated           12            A. Correct.
 13   device that has a strut on it that hits the           13            Q. Do you know what type of water was
 14   surface of the floor?                                 14   in the water slide and the swimming pool next
 15           A. Yes.                                       15   to it?
 16           Q. Does the BOT 3000 do that?                 16            A. No, I didn't test it, so I would
 17           A. No.                                        17   not be able to know.
 18           Q. When a person's foot hits the              18            Q. Do you know whether it was
 19   floor in, and they slip, do you know what part        19   saltwater or freshwater or any other kind of
 20   of the foot normally first contacts the floor         20   liquid?
 21   at the point of the slip?                             21            A. No, I didn't go to the water
 22           A. I'm not a biomechanic in that              22   slide, so I would not know.
 23   sense, but it depends if that person is walking       23            Q. The last paragraph on page 21
 24   on a flat surface, if they're going up,               24   talks about some, looks like microscopic
 25   descending or ascending. So it could be the           25   testing you did of the floor surfaces. Is that
            MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
                                                70                                                             72
  1   heel, it could be the front, it could defer.           1   true?
  2   It might defer also from the type of person.           2            A. Correct.
  3   So you need to know the exact person and the           3            Q. Did you actually have a microscope
  4   conditions that there are.                             4   with you to look down to see what the
  5           Q. Okay. Do you know what part of              5   microscopic condition of the floor surface was?
  6   Miss Padula's foot hit the flooring on the             6           A. Correct.
  7   landing when she made that step off of the last        7           Q. Did you do anything to measure the
  8   stair tread?                                           8   surface roughness of the flooring?
  9           A. No.                                         9           A. I did not.
 10           Q. Now, I think you said that when            10           Q. Did you -- okay.
 11   you used the BOT 3000 you tested the surfaces         11                So was part of what you're doing
 12   on the ship wet and dry?                              12   in the microscopic inspection to see whether or
 13                MISS BAHAMONDE: Objection.               13   not there were any contaminants in the peaks
 14                THE WITNESS: Correct. Correct.           14   and valleys, the microscopic peaks and valleys
 15   BY MR. ERIKSEN:                                       15   of the flooring?
 16           Q. And what type of liquid did you            16           A. It gives you a general sort of
 17   put down to wet the surface?                          17   contaminant. All walking surfaces have
 18           A. So it's the solution that is               18   contaminants, and it just gives you a
 19   required by the standard and it was, it's a           19   quantitative evaluation of the roughness and if
 20   sodium laureth sulfate with distilled water.          20   there's surface cracks, degradation between the
 21           Q. What is sodium laureth sulfate?            21   overlay that you're testing and the substrate,
 22           A. In laymen's terms you could say            22   which is the structural element behind.
 23   it's like a soapy type of material.                   23           Q. Do you know whether Carnival did
 24           Q. Did you say soapy?                         24   anything to clean the flooring that you tested
 25           A. Soapy, yes. Again, laymen's.               25   before you got out there?
            MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                           Page 69 to 72 of 131                                       18 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 19
                                                                                   19 of
                                                                                      of 29
                                                                                         29
                                         73                                              75
  1               A. Again, when I arrived I would not          1   Can you explain?
  2   know. I would need to check that, the cleaning            2           A. Yes, so the direction was in the
  3   schedule that they had.                                   3   direction of, that the Plaintiff was walking.
  4          Q. When you -- I think you said you                4   So it would be descending, going towards where
  5   got on the ship at 11:00 a.m.?                            5   the photograph is taken.
  6          A. I started at 11:00 a.m. I guess                 6           Q. So I mean, let's just take that
  7   we got on the ship a little earlier, maybe                7   yellow dotted line you got there that's got the
  8   quarter to eleven.                                        8   B on it. What does that signify, if anything?
  9          Q. And what time did you finish your               9           A. It's the transverse area and at
 10   work?                                                    10   the intersection between the B line and the one
 11          A. At about one o'clock.                          11   line, that's where the test was taken. So it
 12          Q. Were there a lot of passengers on              12   was taken at the B location at three different
 13   the ship in the area where you were testing at           13   points, basically at the center of the
 14   the time?                                                14   passageway, at the left and at the right.
 15          A. Not many. I would say throughout               15           Q. Right. Okay.
 16   those two hours maybe there were a couple of             16                 So the BOT 3000 is what it
 17   kids running around and a couple of other older          17   implies, it's a robot device that you can put
 18   passengers; maybe less than ten.                         18   on the floor and it's self-propelled?
 19          Q. Okay. Can you, from your                       19           A. That's correct.
 20   microscopic testing that you did on April the            20           Q. And so do I take it that you did
 21   28th of 2017, draw any conclusions about what            21   so along the red dotted lines that you marked
 22   the level of contaminants, if any, were on the           22   one, two and three?
 23   deck at around 5:00 p.m. on December the 15th            23           A. That's correct.
 24   of 2015, when Miss Padula fell?                          24           Q. Okay. So -- let's say you're
 25          A. No, I would not be able. And                   25   going to test the area denominated A with the
              MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
                                                   74                                                            76
  1   that's why they were not provided in the                  1   yellow A.
  2   report.                                                   2           A. Yes.
  3           Q. All right. So look at page 22 of               3           Q. What do you -- give me the
  4   31.                                                       4   geography of where you're doing the testing to
  5           A. Twenty-two of 31?                              5   evaluate the A area.
  6           Q. Yes, sir.                                      6           A. So you would place the BOT 3000E
  7           A. Yes.                                           7   on that area, and you would walk towards where
  8           Q. All right. It looks like in that               8   the picture is taken from --
  9   figure 15 on that page, the photograph, you               9           Q. Okay.
 10   made an effort to show, you know, where you did          10           A. -- for the static test.
 11   your testing. And it's a little confusing to             11                And then, I think if you go back
 12   me, and it's probably my fault and not yours,            12   to the, to the table four, the only exception
 13   but let me just ask you a few questions about            13   is C, which was perpendicular to the stairway
 14   directions of testing.                                   14   as indicated.
 15           A. Yes.                                          15           Q. And that's because you didn't have
 16           Q. Let just take what you expressed              16   enough room to do the BOT testing in the
 17   in section 4.3.2. You says -- I'll strike                17   parallel direction?
 18   that. Let me --                                          18           A. Correct. As well as it also
 19                Okay. Let's stick with that. You            19   provides the more conservative coefficient of
 20   say that "there were some test results in                20   friction, so it's testing the line of grain of
 21   locations A/B."                                          21   the surface.
 22                Okay. I'm looking down at your              22           Q. But in all of the other areas
 23   photograph and I see the A and I see the B, but          23   basically you're testing in a direction that's
 24   I'm not sure whether I can glean from that what          24   perpendicular to the stairs, roughly?
 25   direction you put the BOT 3000 on course for.            25           A. For the, for the, for the static
              MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
19 of 43 sheets                                     Page 73 to 76 of 131                              06/14/2017 11:00:12 PM
      Case
       Case 1:19-cv-20583-DPG     Document 38-2
             1:16-cv-23862-JAL Document      75-3 Entered
                                                   Entered on
                                                           on FLSD
                                                              FLSD Docket
                                                                   Docket 06/26/2017
                                                                           11/15/2019 Page
                                                                                         Page 20
                                                                                              20 of
                                                                                                  of 29
                                                                                                     29
                                               77                                                    79
  1   and dynamic tests. For the B101 and the           1        Q. Yes.
  2   B101.3, those were basically you rotate and it    2        A. -- on the top right corner --
  3   goes in the different orthogonal directions.      3        Q. Yes.
  4         Q. So what you're required to do            4        A. -- that's basically what you see
  5   under that protocol is to test in four                   5   where you have that thick black line, at either
  6   different directions?                                    6   side of that black line is basically the same
  7           A. Which is -- correct. Which is                 7   material.
  8   stated on the description of the surface                 8           Q. All right. Well, were you able to
  9   evaluation.                                              9   get the BOT into that area that we're talking
 10           Q. I also noticed you got four yellow           10   about that has the little one sign on it that's
 11   little markers that appear in figure 15 to the          11   between the two handrails on the bottom?
 12   viewer's right of the stairway --                       12           A. Yes. That's where the BOT starts
 13           A. Yes.                                         13   and then it drives forward eight inches.
 14           Q. -- just inside the handrail. What            14           Q. When you say drive forward, does
 15   do those signify?                                       15   it drive back towards us in figure 15?
 16           A. It's just to provide reference, so           16           A. Correct, yes.
 17   when I'm referring in part of the report, you           17           Q. So you start the BOT there --
 18   know the overall area that I'm discussing               18           A. At the number one.
 19   about.                                                  19           Q. -- right up against that last
 20           Q. Do you see the, kind of -- do you            20   riser?
 21   see the last stair tread?                               21           A. Yes.
 22           A. Yes.                                         22           Q. And then you have it coming toward
 23           Q. And just below that there's kind             23   us as we're looking at figure 15, correct?
 24   of a, there's a strip of wood that's part of            24           A. Correct.
 25   the landing that, where -- just below the last          25           Q. And so how far do you let it go?
            MOCEGA & ASSOC. (305) 374-0181                                MOCEGA & ASSOC. (305) 374-0181
                                                  78                                                          80
  1   tread. Do you know what I'm talking about?               1   Do you let it go to line B, yellow line B and
  2           A. What figure are you looking at?               2   stop, and then take your measurements and then
  3           Q. I'm look at figure 15.                        3   you do something else with line A?
  4           A. And is this in the line, to the               4           A. It goes eight inches forward.
  5   vicinity of line B or line D?                            5           Q. Okay.
  6           Q. Well, you see the number one?                 6           A. The reference lines provided is
  7           A. Yes.                                          7   just to give you an idea of the vicinity. And
  8           Q. Okay. Well, it's sitting on what              8   that test is repeated again around line A and B
  9   I'm talking about on the right side of it as             9   where the BOT starts, and then it approaches
 10   we're looking at the photograph. That little,           10   about four inches to line A and past line A
 11   maybe it's a three or four-inch strip of                11   another four inches for the total of eight
 12   material that's just below the last stair tread         12   inches.
 13   inset, and it's between the bottoms of the two          13           Q. Well, let's just keep focussing on
 14   handrails. You see what I'm talking about?              14   that area, the little strip that's parallel to
 15           A. Are you talking about the lower              15   and just below the last riser.
 16   part of the riser?                                      16           A. Yes.
 17           Q. No. That's not part of the riser.            17           Q. It's got the little one on it.
 18   This is part of the landing. And it's the part          18               You've got some static and dynamic
 19   of the landing closest to the last riser.               19   coefficient of friction values for that wet and
 20           A. Where the number one is sitting              20   dry?
 21   on?                                                     21           A. Yes.
 22           Q. Yes, sir.                                    22           Q. Okay. If that surface is more
 23           A. So it's all the same floor, but it           23   contaminated with grime and dirt than it was
 24   just has that black line to define it. And if           24   when you tested it, would you expect that
 25   you look at figure 16 --                                25   effect the coefficient of friction values in
            MOCEGA & ASSOC. (305) 374-0181                                MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                             Page 77 to 80 of 131                                    20 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 21
                                                                                   21 of
                                                                                      of 29
                                                                                         29
                                         81                                              83
  1   any way?                                                1   in figure -- one second.
  2           A. So as I stated before, it is                 2           Q. Well, I don't see one in exhibit,
  3   normal for all walking surfaces to have                 3   figure 15. I'll take your word for it.
  4   contaminants --                                         4           A. Figure four shows it explicitly.
  5           Q. Yes.                                         5           Q. Okay.
  6           A. -- and it depends on what the                6           A. In page 13.
  7   contaminant is and what level of concentration          7           Q. Okay. Hang on.
  8   the contaminant is. They might either help or           8               Is figure four on page eleven you
  9   not help. But in any case --                            9   mean?
 10           Q. Right.                                      10           A. Thirteen. One, three.
 11           A. -- when you apply the solution,             11           Q. All right. So that -- is the
 12   basically apply a film between the surface and         12   perspective that we're looking at in figure
 13   the test sensor, so --                                 13   four looking down on it, looking from forward
 14           Q. Did you have any measurement of             14   to aft on the ship?
 15   the amount of solution, the liquid solution you        15           A. Correct.
 16   put down that you can express in terms of any          16           Q. Is that something -- is that like
 17   unit of measurement, like milliliters or in any        17   a metal plate that's screwed into the teak deck
 18   way?                                                   18   there?
 19           A. It would be five sprays from the            19           A. I think it's a composite plate.
 20   spray that I used.                                     20   Meaning, like a plastic plate, and it's
 21           Q. Does that create or, in part, a             21   attached and secured with screws on to the
 22   certain quantity of liquid?                            22   deck, yes.
 23           A. I could measure it. I guess I've            23           Q. Okay. So do you think that -- I
 24   never done that, but I would measure it and I          24   mean, the jury needs to, expert testimony for
 25   can provide that value.                                25   them to conclude that Miss Padula should have
              MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
                                                  82                                                           84
  1               Q. Let's go to page 25 of 21.               1   seen that?
  2               A. 25 or 21?                                2          A. I'm making my interpretation of
  3               Q. 25 of 31, yes.                           3   what I saw, and any reasonable person should
  4                Okay. There you begin to express           4   have been aware of that sign. And that's part
  5   some interpretations, and you then restate the          5   of the evaluations that were done on the
  6   hypothesis that includes the words -- well,             6   environmental factors of the inspections.
  7   weather, "A person in the exercise of                   7          Q. How do you -- how did you define
  8   reasonable care, including Ms. Donna Padula,            8   "any reasonable person" in your work?
  9   could have prevented the slip -- the fall               9          A. As a reasonable person as it
 10   and/or the slip."                                      10   states.
 11                Under 5.1.2, you speak of "The            11          Q. Okay. Well, so that's a watch
 12   presence of a permanent high visibility caution        12   your step sign; is that correct?
 13   sign prior to the location of the incident             13          A. Correct.
 14   should have been visible and obvious by any            14          Q. Does it say anything about the
 15   reasonable person, including Ms. Padula,               15   deck being slippery below?
 16   warning of the potential danger provided by the        16          A. It says "watch your step."
 17   floor surface conditions."                             17          Q. Okay. So for what purpose?
 18                Are you assuming that there was           18          A. I cannot evaluate that. I'm just
 19   such a sign visible and present at the time of         19   making an assumption that it's there and any
 20   the incident on December the 5th of 2015?              20   reasonable person should have been able to see
 21           A. Yes.                                        21   that sign and to watch their step as they
 22           Q. And which one are you referring             22   descend the steps. The purpose being that as
 23   to? Is that the --                                     23   they descend, they need to watch their step.
 24           A. If you go back to figure 15, the            24          Q. I mean, does that, in your mind,
 25   one located next to four, and also referenced          25   include a warning of the slipperiness of any
              MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
21 of 43 sheets                                   Page 81 to 84 of 131                              06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                           Entered on
                                                   on FLSD
                                                      FLSD Docket
                                                           Docket 06/26/2017
                                                                  11/15/2019 Page
                                                                             Page 22
                                                                                  22 of
                                                                                     of 29
                                                                                        29
                                        85                                              87
  1   water that may have been at the landing below         1   obstructed, that was clear and visible in the
  2   the steps?                                            2   middle of the step in the direction that the
  3           A. It means --                                3   Plaintiff was walking. That's all I'm stating.
  4           Q. Or does that refer --                      4                The rest that you're just assuming
  5           A. I would interpret that regardless          5   or trying to make me assumptions on
  6   of the conditions, you have to watch your step.       6   hypotheticals that are not relevant to the
  7   In other words, at all times watch your step.         7   interpretations I've made.
  8           Q. Well, how do you think -- again,           8           Q. Okay. Would you agree that some
  9   getting back to this concept of "any reasonable       9   flooring is not slippery even when it's very
 10   person," are you an expert on reasonable people      10   wet?
 11   or is that something the jury can figure out on      11           A. So "slippery" is a human term.
 12   their own?                                           12   What I've been able to do in the report is to
 13           A. I can't -- I don't know the jury          13   assess and determine if it provides a
 14   at this point, so I'm just making a statement        14   reasonable slip resistance.
 15   based on interpretation.                             15           Q. I'm just trying to figure out if
 16           Q. Is there any reason why a jury            16   you have any methodology or basis to conclude
 17   needs you to reach that conclusion or make that      17   what Miss Padula should have thought, if
 18   interpretation, or can they just look at the         18   anything, about the, whether or not a wet floor
 19   watch your step sign and figure it out for           19   was dangerous when she looked down and saw
 20   themselves?                                          20   water there? I mean, are you an expert on that
 21                MISS BAHAMONDE: Objection.              21   topic?
 22                THE WITNESS: Sometimes in our           22           A. On what topic?
 23           field you have to state the obvious.         23           Q. The topic of how a layperson would
 24   BY MR. ERIKSEN:                                      24   interpret wet flooring in terms of whether it
 25           Q. You're not an industrial                  25   was dangerous or not?
            MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
                                               86                                                          88
  1   psychologist, are you?                                1           A. I can provide an assessment that
  2           A. No. We've gone over this at the            2   if I see a warning sign attached to in front of
  3   beginning.                                            3   a stairway, as it's done in many, you know,
  4           Q. You don't -- I mean, you don't             4   structures, those are provided to provide
  5   profess to know how lay people would interpret        5   warning to reasonable people utilizing that
  6   certain things like a sign, are you?                  6   stairway of potential dangers ahead, whatever
  7           A. I'm not sure what you're trying to         7   they might be. And therefore, you watch your
  8   get at, but -- what's the question?                   8   step, so you watch where you physically place
  9           Q. I mean, you've not engaged in any          9   your foot making contact to the ground.
 10   research or studies about how people interpret       10          Q. I understand how you would perhaps
 11   certain information like signs; fair enough?         11   interpret that scenario as having a Ph.D.
 12           A. I can agree with that.                    12               But my question is, are you an
 13           Q. Hang on.                                  13   expert and/or have you researched what lay
 14               Okay. In section 5.1.5 you state         14   people who don't have any technical knowledge
 15   at the end "Hence, the danger of a wet floor         15   would necessarily think if they looked up ahead
 16   was visible, open and obvious to a reasonable        16   and saw a wet floor as to whether it was
 17   person exercising care."                             17   dangerous or not?
 18               Do you think that anybody looking        18               MISS BAHAMONDE: Objection.
 19   at the landing being wet below that last tread       19               THE WITNESS: Again, regarding the
 20   would automatically know that the floor was          20          wet floor, if you notice in the report
 21   dangerous when wet?                                  21          I don't say it's a wet floor. I talk
 22           A. Again, that's based on the                22          about floor surface conditions and the
 23   assumption of the person. All that I'm               23          whole point is that the floor surface
 24   stating, as it's visible in the report, is that      24          condition, yes, they could be wet, they
 25   there was a watch your step sign that was not        25          could be uneven, there could be a
            MOCEGA & ASSOC. (305) 374-0181                             MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                          Page 85 to 88 of 131                                    22 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 23
                                                                                   23 of
                                                                                      of 29
                                                                                         29
                                         89                                              91
  1           change of height. So I'm not judging              1   Mr. Ford referred to in his report to basically
  2           on how Miss Padula might have seen                2   determine that those contaminants were grime,
  3           that, but what I am judging is that               3   oil, seawater, without making any analysis of
  4           when you place signs of that level and            4   those substances.
  5           that contrast in that location, the               5           Q. Well, I mean, here's my question,
  6           purpose of those signs are designed to            6   if the jury were to determine that what was
  7           create a safe environment reducing the            7   actually on the floor when Miss Padula slipped
  8           risk of falls and slipping and                    8   was grime and/or oil and/or seawater as opposed
  9           basically warning of potential dangers.           9   to freshwater, do you plan at this stage to
 10           That's the intent of what I'm trying to          10   come in and offer any opinions about the
 11           say.                                             11   efficiency of the substances like that as
 12   BY MR. ERIKSEN:                                          12   lubricants or their effect, if any, on the wet
 13           Q. Okay. Let's move forward here in              13   slip resistance of the flooring?
 14   your report. I'm making great progress here.             14                MISS BAHAMONDE: Objection.
 15           A. Thank you.                                    15                THE WITNESS: If I'm asked, I
 16           Q. I'm going to fast forward you to              16            guess I can provide an opinion, but --
 17   page 28, which it appears to me that what                17   BY MR. ERIKSEN:
 18   you've done there and what you're reporting is           18           Q. But you haven't done that in this
 19   a review of the Rule 26 report by Mr. Ford, who          19   report; sure enough?
 20   is the Plaintiff's expert.                               20           A. Correct. Because --
 21           A. Correct.                                      21           Q. Okay.
 22           Q. And we've already talked about                22           A. -- I don't know what the
 23   your criticisms of the English XL Tribometer             23   contaminated or contaminants at the time that
 24   that he used. So I won't rehash that.                    24   Miss Padula had the incident were; so
 25           A. I wouldn't classify them as                   25   therefore, I cannot make an opinion on those
              MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
                                                   90                                                            92
  1   criticisms. They're just observations.                    1   based on a photograph.
  2           Q. Okay. Okay.                                    2          Q. So presumably if you were asked by
  3           A. Are you still there?                           3   Carnival to render such an opinion, you would
  4           Q. Yes, I'm here. I'm reading                     4   respond "It is impossible to determine with
  5   through this hoping to skim forward even                  5   certainty a substance at the time of
  6   further, hang on.                                         6   Miss Padula's incident" --
  7                Okay. Go and look at page 29 of              7          A. Correct. Which is stated in the
  8   31, and the section I want to ask you about is            8   report.
  9   5.4.12. Do you see that?                                  9          Q. Right.
 10           A. 5.4.12, yes.                                  10               And independently of whatever was
 11           Q. Yes, sir.                                     11   there, you're not going to come in and talk
 12                And there you refer to where                12   about the superiority of seawater as a
 13   "Mr. Ford makes numerous references throughout           13   lubricant compared to saltwater or not?
 14   the report as to how contaminated grime, oil,            14               MISS BAHAMONDE: Objection.
 15   seawater, etcetera, on surfaces reduce the wet           15               THE WITNESS: Again, the intent of
 16   slip resistance of the surface."                         16          the tests, you know, the term
 17                Do you plan to offer any testimony          17          "slippery," as humans define it, is one
 18   as to the effect, if any, of grime, oil or               18          thing, and we're trying to discriminate
 19   seawater as lubricants on the wet slip                   19          that. We're trying to evaluate the
 20   resistance of the surfaces involved at trial?            20          slip resistance that any surface has
 21           A. Again, I'm not sure what you're               21          under certain controlled conditions.
 22   asking exactly.                                          22   BY MR. ERIKSEN:
 23           Q. Well --                                       23          Q. Right.
 24           A. The observation says that it is               24               Okay. We're getting down to the
 25   impossible to tell from the photographs that             25   wire here.
              MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
23 of 43 sheets                                     Page 89 to 92 of 131                              06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                           Entered on
                                                   on FLSD
                                                      FLSD Docket
                                                           Docket 06/26/2017
                                                                  11/15/2019 Page
                                                                             Page 24
                                                                                  24 of
                                                                                     of 29
                                                                                        29
                                        93                                              95
  1           A. Okay.                                        1   BY MR. ERIKSEN:
  2           Q. I'm moving to page 30 of 31 of               2           Q. Based on your test.
  3   your report where you start the conclusions.            3           A. Can you repeat the question?
  4   Are you with me so far?                                 4           Q. Yes.
  5           A. Yes.                                         5                 I mean, based on your test, can
  6           Q. Okay. The one conclusion that                6   you tell us within a reasonable degree of
  7   begins is where you say "There is a high                7   engineering certainty that she would not have
  8   likelihood that the incident was preventable by         8   slipped had the surface been dry?
  9   a reasonable person like Miss Donna Padula."            9                 MISS BAHAMONDE: Objection.
 10                First of all, do you think                10                 THE WITNESS: Based -- I'll go
 11   Miss Padula was "a reasonable person"?                 11           back to the result and flushing through
 12           A. That's my assumption, yes.                  12           the report for the dry coefficient of
 13           Q. Do you have any basis to draw that          13           friction test. So this is page 24 of
 14   conclusion?                                            14           31, table four. And as you can see on
 15           A. It's an assumption that I have              15           that table, both static and dynamic
 16   within the hypothesis. That's why the                  16           coefficient of friction tests were
 17   hypothesis starts with any reasonable person,          17           above for static .75, for dynamic .55,
 18   just generally speaking, and then I make the           18           those were lower than wet for the
 19   assumption that Miss Padula is a reasonable            19           static B101, and higher than the
 20   person.                                                20           dynamic at eight inches. So they
 21           Q. So what is the basis of your                21           provide a higher degree of slip
 22   conclusion that "There is a high likelihood            22           resistant than in the wet condition.
 23   that the incident was preventable by                   23           That's all I can say.
 24   Miss Padula"?                                          24   BY MR. ERIKSEN:
 25           A. Since the combination of                    25           Q. I hear you.
            MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
                                                  94                                                                96
  1   environmental factors significantly reduced the         1                 But let's go to the next
  2   likelihood of a slip and fall, therefore, a             2   conclusion on the same page where you say, "The
  3   reasonable person in exercise of reasonable             3   Plaintiff, Miss Padula, failed to use
  4   care could have prevented the slip and fall.            4   reasonable care when walking through the
  5          Q. All right. Well, I mean, have you             5   incident area; thus, significantly increasing
  6   concluded that, one way or the other as to              6   the likelihood of the fall and/or the slip."
  7   whether she would have slipped had the floor            7                 So what I want you to tell me is
  8   surface been dry?                                       8   each and every that you believe Miss Padula
  9          A. I -- part of the test results that            9   failed to use reasonable care when walking
 10   showed that both the coefficient of friction on        10   through the incident area.
 11   the wet and dry surface met minimum criteria,          11            A. So those are stated following that
 12   so provided sufficient slip resistance of the          12   paragraph where the combination of
 13   surface.                                               13   environmental factors reduced the likelihood of
 14          Q. Okay. Well, do you believe that              14   the slip and fall. And again, the assumption
 15   Miss Padula slipped on a wet surface?                  15   here of the hypothesis is that if the
 16          A. The assumption is that she slipped           16   environmental factors provide a safe passageway
 17   on a wet surface, and that's why tests were            17   reducing the likelihood of slip and fall,
 18   done wet as well as dry. I cannot believe              18   therefore, a reasonable person should not slip.
 19   anything. I can only attain to the evidence            19                 If there is a slip, then there's a
 20   that I collected and make conclusions from that        20   high likelihood that that person did not use
 21   evidence.                                              21   reasonable care.
 22          Q. I mean, is it a fair conclusion              22            Q. What lack of reasonable care on
 23   that she would not have slipped had the surface        23   Miss Padula's part caused her to slip?
 24   been dry?                                              24            A. So what I state in the report is
 25               MISS BAHAMONDE: Objection.                 25   that the following combination of environmental
            MOCEGA & ASSOC. (305) 374-0181                               MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                            Page 93 to 96 of 131                                         24 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 25
                                                                                   25 of
                                                                                      of 29
                                                                                         29
                                         97                                              99
  1   factors significantly reduced the likelihood of       1    even descending that two-step flight of stairs
  2   the fall. So --                                       2    before she got her foot down on the wet landing
  3           Q. I hear that. But what that sounds          3    and slipped, that she saw it was wet down
  4   like to me, you're saying is, I went out and I        4    there.
  5   measured the stairway and it looked pretty good       5                What, in your judgment, was she
  6   to me, and I measured the flooring when wet, it       6    supposed to do at that point to exercise
  7   was wet and dry, and that looked pretty good to       7    reasonable care?
  8   me. So, therefore, Miss Padula must have              8            A. Descend -- again, she's supposed
  9   caused her own slip. Is that basically what           9    to exhibit reasonable care.
 10   you're saying?                                       10            Q. I get that. But what specific,
 11           A. No, because during the provided           11    you know, acts of reasonable care was she
 12   evidence there's no statement by Miss Padula         12    supposed to engage in at the point where she
 13   that she saw the sign, for instance, so              13    looks down and sees water on the floor?
 14   therefore, she failed to, you know, detect that      14            A. You're asking me to tell you what
 15   designed instrument to reduce fall; so               15    was going through her mind?
 16   therefore, exhibiting poor care.                     16            Q. No. Well, not yet. But what you
 17               The fact that she saw, as she was        17    think she should have done so as to satisfy you
 18   walking down the wet surface, it was, again,         18    that she exercised reasonable care.
 19   another sign. And these are stated in the            19            A. So if the question is, if we
 20   report that she could have used reasonable care      20    switch roles and I'm at the ship and I see a
 21   when preventing an open hazard.                      21    wet floor ahead of me and I see the yellow
 22               So based on the assumptions I'm          22    sign -- that's reasonable so far?
 23   stating here and based on all of the collected       23            Q. Yes.
 24   evidence as well as the case documentation.          24            A. Then one option is, I could alert
 25           Q. Well, let's just start with those         25    a staff and say hey, you know, I don't want to
              MOCEGA & ASSOC. (305) 374-0181                            MOCEGA & ASSOC. (305) 374-0181
                                                98                                                           100
  1   factors you mentioned, beginning with the             1    descend the steps, they need to be dried.
  2   warning sign. Let's assume for the sake of            2               Another one, I could have taken an
  3   argument that she saw this, that the warning          3    alternative route to my destination.
  4   sign was there that day, and she saw it. Okay.        4               Another one would have been just
  5                What, in your judgment, was she          5    descending slowly, making sure that upon
  6   supposed to do at that point different than           6    placing my foot, rather than going down, I have
  7   what she actually did?                                7    good grip with the floor.
  8           A. Well, again, I don't know exactly          8               Many things that she could have
  9   what she did or she didn't do. So --                  9    done.
 10           Q. But you're saying -- but you're           10           Q. So in your judgment once she saw
 11   saying and you're concluding that she "failed        11    the water on the deck, she should have known it
 12   to use reasonable care when walking through the      12    was slippery and she should have engaged in
 13   incident area."                                      13    those techniques that you just mentioned?
 14                How can you make a statement like       14           A. Upon realizing that the floor is
 15   that if you don't know what she did?                 15    wet, you approach with care and caution in any
 16           A. Right. Well, the assumption is            16    surface.
 17   that, and it's stated from the hypothesis that       17           Q. How do you know she didn't do
 18   the environmental factors provided a high            18    that?
 19   likelihood of avoiding the fall and since the        19           A. Well, I'm not sure, but the
 20   fall happened, by default it is assumed that a       20    assumption is that if the floor has the correct
 21   reasonable person could have avoided it. And         21    wet slip resistance and the surfaces in all
 22   therefore, because there was an accident, she        22    directions of travel and the handrail is
 23   did not exhibit reasonable care.                     23    located at the correct design, all of those
 24           Q. Okay. Well, let's go further and          24    significantly reduce the likelihood of an
 25   assume that she, you know, she's approaching or      25    accident.
              MOCEGA & ASSOC. (305) 374-0181                            MOCEGA & ASSOC. (305) 374-0181
25 of 43 sheets                                 Page 97 to 100 of 131                             06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 26
                                                                                   26 of
                                                                                      of 29
                                                                                         29
                                        101                                              103
  1           Q. Well, if, if the floor, the wet                1   as you described her in the second full
  2   floor had the slip resistance that you think it           2   paragraph on page 30 of 31.
  3   did, what did she have to worry about?                    3            A. Any reasonable person with,
  4            A. Because, again, we can go back to             4   approaching a wet floor on a stairway with a
  5   the analogy of the kid running around a pool.             5   watch your step sign should proceed with
  6   Even though that kid might know that the floor            6   caution and care in order to reduce --
  7   is wet, he might start to run a little bit or             7            Q. Which of those studies do you cite
  8   go a little faster than he should have and                8   that mentions anything about what reasonable
  9   have, even though you think you're exercising             9   people should do in situations like that?
 10   reasonable care. So we're just trying to --              10            A. I would need to get back to you
 11   these are all assumptions. I mean, we're                 11   and review them.
 12   talking about what was going through her mind,           12            Q. Well, I mean, I'm familiar with
 13   what she should have done or not done, and I             13   all of those studies, just about every one of
 14   cannot -- I mean, I can't comment on those. I            14   them that you've got listed because I've read
 15   can comment only on what I measured, and                 15   them and they all talk about how to build a
 16   assuming that all of the environmental                   16   stairway and how to not have uneven treads and
 17   conditions provided reduced significantly the            17   risers, and what you need to do to make a floor
 18   fall, then there's a high likelihood that there          18   slip resistant. That's pretty much what they
 19   was no reasonable care used when descending,             19   talk about, correct?
 20   and that caused the accident.                            20            A. Correct.
 21                 Why? Because many, many studies            21            Q. So they don't -- they're not
 22   as quoted in the report show that when you have          22   industrial psychology studies that talk about
 23   those certain design criteria and those aspects          23   how -- I'm sorry?
 24   then it reduces the risk of fall. And that if            24            A. If you look at Templer, in one of
 25   it's -- a fall still happens under those                 25   them he does have sections on that paragraph
            MOCEGA & ASSOC. (305) 374-0181                                  MOCEGA & ASSOC. (305) 374-0181
                                                   102                                                          104
  1   conditions, it is generally related to the high           1   that talk about how people interact.
  2   likelihood of not exhibiting reasonable care or           2           Q. I have the Templer book in front
  3   being careful or gripping the handrail                    3   of me right now. Tell me where it says in
  4   correctly or whatever it might be.                        4   there what reasonable people should do when
  5           Q. Is it true that those studies do               5   they're confronted with a wet floor.
  6   not address what people in Miss Padula's                  6           A. So I don't have it with me here in
  7   position do or should do when they see a wet              7   my office. I have it in my office at home.
  8   floor?                                                    8   But I can definitely follow-up and --
  9           A. Some of the studies talk about                 9           Q. All right. I want to make this --
 10   getting your grip correctly and, you know, how           10   I'm going to make this Exhibit 6 to the
 11   you should descend a staircase or whatnot.               11   deposition. We don't have -- what I want you
 12           Q. My question is, none of those are             12   to do at some point between now and the next 30
 13   studies of what most people do or even the               13   days is, you -- I want you to copy the pages of
 14   majority of people do when they see a wet floor          14   John Templer's book "The stair case," which is
 15   up ahead, correct?                                       15   published by the MIT press in 1992, which I'm
 16           A. I don't know what you're trying to            16   sure is the book you're referring to, and show
 17   ask.                                                     17   me in there where there's any description of
 18           Q. I'm just trying to get a yes or no            18   what a "reasonable person, like Ms. Padula,"
 19   answer to a yes or no question.                          19   should do when they see a wet floor up ahead in
 20           A. When you say "most people," is it             20   terms of walking through it or slowing down or
 21   most people worldwide population, most people            21   turn around and going in a different direction
 22   in a cruise line with a wet floor, most people           22   or anything like that, to support your
 23   of the general public? It's, you know, I                 23   statement that she did not exercise reasonable
 24   mean --                                                  24   care.
 25           Q. Reasonable people like Miss Padula            25           A. I will follow-up on the references
            MOCEGA & ASSOC. (305) 374-0181                                  MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                             Page 101 to 104 of 131                                    26 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 27
                                                                                    27 of
                                                                                       of 29
                                                                                          29
                                         105                                              107
  1   and let you know where I made that assertion                           1            the bottom.
  2   from.                                                                  2                THE WITNESS: Yes.
  3               Q. Well, I just want you to show me                        3   BY MR. ERIKSEN:
  4   out of that reference or any other reference                           4            Q. I just want you -- presumably you
  5   that you attached --                                                   5   have that book.
  6               A. Right. From what I recall, I'm                          6            A. Yes. As I said, well, I do have
  7   not sure it was Templer. Actually I had '95 on                         7   it. What I said is that I wasn't, I'm not with
  8   mine. Again, I can follow up on this. Yes.                             8   certain it's the reference that I am trying to
  9               Q. Okay. Good deal?                                        9   allege in terms of the conduct that a person
 10                        MR. ERIKSEN: That's all -- I                     10   approaching an area with the specifications we
 11               think that's all I have. Hang on one                      11   said and how reasonable care judgment that
 12               second. Just one second. Let me check                     12   we've been discussing. I recall reading one of
 13               my notes.                                                 13   these references. I'm not sure if it's the
 14                        THE COURT REPORTER: Just so I'm                  14   Templer book or if it was on another one. I
 15               clear, is that going to be deemed as                      15   will provide you that extract, those pages as
 16               Exhibit 6?                                                16   you mentioned on how I reached that assumption.
 17                        MR. ERIKSEN: Yes, we'll make it                  17   Is that a fair --
 18               Exhibit 6.                                                18            Q. The point I'm trying to make here
 19                        And, you know, if Sandy is okay                  19   is, you're not an industrial psychologist.
 20               with this, I'll just let him give it to                   20   You're not an expert on that, are you?
 21               her and then we'll --                                     21            A. No. But I can read a study that
 22                        (Thereupon, an off the record                    22   infers about that and what lessens were learned
 23               discussion was had.)                                      23   and based on those lessens learned extract that
 24                        (Thereupon, the above mentioned                  24   knowledge and apply to this case and make
 25               document was marked as Plaintiff's                        25   some --
              MOCEGA & ASSOC. (305) 374-0181                                             MOCEGA & ASSOC. (305) 374-0181
                                                                106                                                                 108
  1               Exhibit No. 6, for identification this                     1            Q. A jury can figure out on their own
  2               date.)                                                     2   what, if anything, Miss Padula should have done
  3                        MR. ERIKSEN: Frankly, let's do it                 3   when she saw a wet floor up ahead. You don't
  4               this way. Julio, if you don't have it                      4   need expert testimony from you to, for them to
  5               by, you know, the time --                                  5   be able to make that decision; fair enough?
  6                        MISS BAHAMONDE: Mike, remember                    6                MISS BAHAMONDE: Objection.
  7               I'm going out of town. I'm going to be                     7                THE WITNESS: Again, I'm only
  8               out of the country until the 14th, so                      8            stating what I think is needed for this
  9               I'm going to need just a little bit of                     9            case, and I state what I think is
 10               time to get back, and I go right into                     10            needed in order to reach my
 11               trial.                                                    11            conclusions.
 12                        MR. ERIKSEN: Just take as much                   12   BY MR. ERIKSEN:
 13               time as you need.                                         13            Q. What, if anything, as an engineer
 14                        MISS BAHAMONDE: But you know I'll                14   can you add to what a jury can figure out on
 15               get it to you. I'll get it to you.                        15   their own about what Miss Padula should have
 16                        THE WITNESS: Who's providing the                 16   done when confronted with a wet floor?
 17               exhibit?                                                  17            A. I can give my personal opinion, as
 18                        MR. ERIKSEN: Well, I just, what I                18   I just did when you asked me.
 19               want -- you have let me ask this                          19                MR. ERIKSEN: Okay. Thank you.
 20               question on the record.                                   20            That's all I have. Thank you for your
 21                        You've listed that Templer book in               21            patience. I hope you get to where you
 22               your bibliography of references, so on                    22            need to be going this afternoon. Have
 23               page 31 of 31.                                            23            a great weekend, all of you.
 24                        THE WITNESS: Yes.                                24                MISS BAHAMONDE: Mike, I just
 25                        MR. ERIKSEN: It's the one down at                25            have, really quickly, a few questions.
              MOCEGA & ASSOC. (305) 374-0181                                             MOCEGA & ASSOC. (305) 374-0181
27 of 43 sheets                                                 Page 105 to 108 of 131                                   06/14/2017 11:00:12 PM
      Case
      Case 1:19-cv-20583-DPG Document 38-2
           1:16-cv-23862-JAL Document 75-3 Entered
                                            Entered on
                                                    on FLSD
                                                       FLSD Docket
                                                            Docket 06/26/2017
                                                                   11/15/2019 Page
                                                                              Page 28
                                                                                   28 of
                                                                                      of 29
                                                                                         29
                                        109                                              111
  1                MR. ERIKSEN: Okay.                            1   that you used when you test the floor for the
  2                MISS BAHAMONDE: Follow-up                     2   wet test.
  3           questions.                                         3           A. Yes.
  4                  CROSS-EXAMINATION                           4           Q. And you've reviewed Plaintiff's
  5   BY MISS BAHAMONDE:                                         5   expert report in this case, Frank Ford?
  6           Q. Dr. Basalo, you mentioned the                   6           A. I recall that, yes.
  7   testing protocol and you mentioned static                  7           Q. And he uses a different machine,
  8   versus dynamic testing. And those are also                 8   correct?
  9   listed on page 24 of your report, correct?                 9           A. And a different substance, yes.
 10           A. Yes.                                           10           Q. Right.
 11           Q. Now, under the standards set forth             11               So what substance does Mr. Ford
 12   by Carnival, which you also reference in your             12   use? What is your understanding of the
 13   report, the ANSI standards, and looking at                13   substance that he used with the English XL?
 14   charts -- I'm sorry, figure table four on page            14           A. From what I -- I don't have the
 15   24, can you explain a little bit the static               15   report in front of me, but it was just regular
 16   versus dynamic testing?                                   16   water. I don't -- I don't know the exact
 17           A. So static and dynamic tests is                 17   terminology, but just, I think it was
 18   provided also in the report in terms of static            18   freshwater or something like that.
 19   as basically you have two objects sitting still           19           Q. And how does that compare to the
 20   and what's the force required of the ratio                20   solution that you used?
 21   between the normal and the perpendicular force            21           A. Well, it had distilled water,
 22   to get it moving versus the dynamic, which is a           22   which is a controlled substance, meaning the
 23   moving object striking on a surface similar to            23   distilled water that you buy here and you buy
 24   the foot striking a floor. So that's what the             24   anywhere else has the same composition and the
 25   dynamic coefficient of friction is.                       25   percentage of the concentration of the SLS,
            MOCEGA & ASSOC. (305) 374-0181                                   MOCEGA & ASSOC. (305) 374-0181
                                                    110                                                          112
  1           Q. And under the ANSI standards set                1   it's a standard, so it provides, whenever you
  2   forth by Carnival, do these test results meet              2   do tests in any given condition benchmark, and
  3   that criteria?                                             3   that's where the table one results come from.
  4           A. So the standards provided give                  4   Freshwater or salt water might have different
  5   you, again, an assessment, and I can pull it up            5   levels of mineral contents. So, again, it
  6   here. I don't know if you want to make that an             6   could differ in terms of providing a benchmark.
  7   exhibit. Let me open it here to reference                  7           Q. Are you familiar with the ASTM
  8   exactly what they said. So depending, for                  8   standards that Mr. Ford mentions in his report?
  9   instance, the dynamic, the wet dynamic                     9           A. Yes.
 10   coefficient of friction of common hard floor              10           Q. And what is your understanding of
 11   surfaces, this is standard B101.3, the ANSI,              11   those standards, just in general terms?
 12   2012 version, it provides a table, table one,             12           A. In general, so I think one of the
 13   on how you interpret the data obtained from a             13   ones that he makes reference to, which I also
 14   test evaluating the slip resistance of a floor            14   provided in the report, page seven, is ASTM
 15   and that table, depending on the numbers, if              15   F1166, "Standard Practice to Human Engineering
 16   it's more than 0.42 on a leveled surface,                 16   Design for Marine Systems, Equipment and
 17   there's basically a high slip resistance, which           17   Facilities," where there is a magic number of
 18   in itself provides a low probability of                   18   0.6 for wet surfaces. It is important to
 19   slipping. And this was the case for the test              19   understand that they don't state on how to
 20   that I provided.                                          20   determine that 0.6 slip resistance factor.
 21           Q. And all the testing results meet,              21   Whereby, you know, the variable incident
 22   reached that criteria, correct, or meet that              22   tribometer does not really provide coefficient
 23   criteria?                                                 23   of friction. So therefore -- and also the
 24           A. That's correct.                                24   marine systems, it doesn't talk about the
 25           Q. Now, you mentioned the substance               25   applications that those marine systems are. So
            MOCEGA & ASSOC. (305) 374-0181                                   MOCEGA & ASSOC. (305) 374-0181
06/14/2017 11:00:12 PM                              Page 109 to 112 of 131                                    28 of 43 sheets
       Case
       Case 1:19-cv-20583-DPG Document 38-2
            1:16-cv-23862-JAL Document 75-3 Entered
                                             Entered on
                                                     on FLSD
                                                        FLSD Docket
                                                             Docket 06/26/2017
                                                                    11/15/2019 Page
                                                                               Page 29
                                                                                    29 of
                                                                                       of 29
                                                                                          29
                                         113                                              115
  1   when you have a standard that requires you to                  1       CERTIFICATE OF SHORTHAND REPORTER
  2   meet a certain criteria but it doesn't tell you                2   STATE OF FLORIDA )
  3   how to measure for that criteria, it leaves                    3              ) SS.
  4   room for interpretation.                                       4   COUNTY OF DADE )
  5          Q. So drawing your attention, based                     5
  6   on what you just described to us, back to table                6         I, the undersigned authority hereby
  7   four on page 24.                                               7   certify that the foregoing transcript, pages 1
  8          A. Yes.                                                 8   through 115 are a true and correct
  9          Q. If you look at some of those                         9   transcription of the deposition of Dr. Franciso
 10   numbers under the wet test, the last two, which               10   De Caso y Basalo, taken before me at the time
 11   state .48 and .46, so those would clearly fall                11   and place stated in the caption hereof.
 12   below the ASTM standards, correct?                            12         I further certify that the said witness
 13          A. Correct.                                            13   was duly sworn according to law. I further
 14          Q. But they still meet the ANSI                        14   certify that I am not of counsel to either of
 15   standards?                                                    15   the parties to said cause or otherwise
 16          A. That's correct.                                     16   interested in the event thereof.
 17               MISS BAHAMONDE: I think that's                    17         IN WITNESS WHEREOF, I hereunto set my
 18          it. Let me just check my notes.                        18   hand and affix my official seal of office this
 19               That's all that I have, Mike.                     19   12th day of June, 2016.
 20               MR. ERIKSEN: I have nothing else.                 20
 21          Thank you, sir. Have a great weekend.                  21           ____________________________________
 22               Sandy, when are you taking off?                   22           Julio A. Mocega, Shorthand Reporter
 23               MISS BAHAMONDE: I take off                        23           Notary Public in and for
 24          tomorrow afternoon, so I'm gone.                       24           the State of Florida at Large
 25               (Thereupon, the deposition was                    25           My Commission Expires: 6-29-18
              MOCEGA & ASSOC. (305) 374-0181                                     MOCEGA & ASSOC. (305) 374-0181
                                                       114                                                             116
  1               concluded at 3:45 p.m., and the                    1                CERTIFICATE OF OATH
  2               formalities or reading and signing were            2
  3               not waived.)                                       3   STATE OF FLORIDA
  4                                                                  4   COUNTY OF DADE
  5                                                                  5
  6                                                                  6
  7                                                                  7             I, the undersigned authority,
  8                                                                  8   certify that Dr. Franciso De Caso y Basalo
  9                                                                  9   personally appeared before me and was duly
 10                                                                 10   sworn.
 11                                                                 11             WITNESS my hand and official seal
 12                                                                 12   this 12th day of June, 2016.
 13                                                                 13
 14                                                                 14
 15                                                                 15
 16                                                                 16              ______________
 17                                                                 17
 18                                                                 18              Julio A. Mocega
 19                                                                 19
 20                                                                 20              Notary Public State of Florida
 21                                                                 21              My commission Expires: 6-29-2018
 22                                                                 22
 23                                                                 23
 24                                                                 24
 25                                                                 25
              MOCEGA & ASSOC. (305) 374-0181                                     MOCEGA & ASSOC. (305) 374-0181
29 of 43 sheets                                         Page 113 to 116 of 131                              06/14/2017 11:00:12 PM
